Case 23-13359-VFP           Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                           Desc Main
                                    Document    Page 1 of 38



                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


 In re:                                                      Chapter 11

 BED BATH & BEYOND INC., et al.,                             Case No. 23-13359 (VFP)

                                    Debtors.1                (Jointly Administered)


                                        AFFIDAVIT OF SERVICE

        I, Brian Horman, depose and say that I am employed by Kroll Restructuring Administration
 LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
 cases.

        On September 14, 2023, at my direction and under my supervision, employees of Kroll
 caused the following document to be served by the method set forth on the Master Service List
 attached hereto as Exhibit A:

     •    Findings of Fact, Conclusions of Law, and Order (I) Approving the Disclosure Statement
          on a Final Basis and (II) Confirming the Second Amended Joint Chapter 11 Plan of Bed
          Bath & Beyond Inc. and Its Debtor Affiliates [Docket No. 2172]

         In addition to the methods of service set forth herein, parties who have requested electronic
 notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
 document via electronic service.




                                [Remainder of page intentionally left blank]




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/bbby. The location of Debtor Bed Bath &
 Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 650 Liberty
 Avenue, Union, New Jersey 07083.
Case 23-13359-VFP     Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02           Desc Main
                              Document    Page 2 of 38



 Dated: September 21, 2023
                                                               /s/ Brian Horman
                                                               Brian Horman
 State of New York
 County of New York

 Subscribed and sworn (or affirmed) to me on September 21, 2023, by Brian Horman, proved to
 me on the bases of satisfactory evidence to be the person who executed this affidavit.

 /s/ HERBERT BAER
 Notary Public, State of New York
 No BA6205563
 Qualified in Westchester County
 Commission Expires May 11, 2025




                                             2                                    SRF 72906
Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02   Desc Main
                            Document    Page 3 of 38



                                  Exhibit A
                                            Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                    Desc Main
                                                                        Document    Page 4 of 38
                                                                                       Exhibit A
                                                                                   Master Service List
                                                                                Served as set forth below

                                   DESCRIPTION                              NAME                     ADDRESS                         EMAIL               METHOD OF SERVICE
                                                                                           ATTN: ERIC H. HORN, HEIKE
                                                                                           M. VOGEL
                                                                                           101 EISENHOWER PARKWAY
                                                                                           SUITE 412                   EHORN@AYSTRAUSS.COM
COUNSEL TO LEONARD FEINSTEIN AND WARREN EISENBERG                  A.Y. STRAUSS LLC        ROSELAND NJ 07068           HVOGEL@AYSTRAUSS.COM            Email
                                                                                           ATTN: GENERAL COUNSEL
                                                                                           2093 PHILADELPHIA PIKE #    DOR@ALTO-INV.COM
                                                                                           1971                        YISSACHAR@ALTO-INV.COM
COUNSEL TO ALTO NORTHPOINT, LP                                     ALTO NORTHPOINT, LP     CLAYMONT DE 19703           NITAY@ALTO-INV.COM              Email
                                                                                           ATTN: AL HUTCHENS, RYAN
                                                                                           GRUNEIR, NATE FENNEMA &
                                                                                           CONNOR GOOD                 AHUTCHENS@ALVAREZANDMARSAL.COM
                                                                                           200 BAY STREET              RGRUNEIR@ALVAREZANDMARSAL.COM
                                                                   ALVAREZ & MARSAL CANADA TORONTO ON M5J 2J1          NFENNEMA@ALVAREZANDMARSAL.COM
COURT-APPOINTED MONITOR                                            INC.                    CANADA                      CGOOD@ALVAREZANDMARSAL.COM     Email
                                                                                           ATTN: AL HUTCHENS
                                                                                           SOUTH TOWER 200 BAY
                                                                                           STREET
                                                                                           SUITE 2900 P.O. BOX 22
                                                                                           TORONTO ON M5J 2J1
MONITOR TO THE CCAA PROCEEDING AND COUNSEL                         ALVAREZ & MARSAL LLP    CANADA                      AHUTCHENS@ALVAREZANDMARSAL.COM Email




      In re: Bed Bath Beyond Inc., et al.
      Case No. 23-13359 (VFP)                                                         Page 1 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                            Desc Main
                                                                         Document    Page 5 of 38
                                                                                              Exhibit A
                                                                                          Master Service List
                                                                                       Served as set forth below

                             DESCRIPTION                                      NAME                                 ADDRESS                   EMAIL            METHOD OF SERVICE
COUNSEL TO THE TEXAS TAXING AUTHORITIES "BEXAR COUNTY, CAMERON
COUNTY, CYPRESS-FAIRBANKS INDEPENDENT SCHOOL DISTRICT, DALLAS
COUNTY, CITY OF EL PASO, FORT BEND COUNTY WCID #02, FORT BEND
COUNTY, CITY OF FRISCO, GRAYSON COUNTY, GREGG COUNTY, HARRIS
COUNTY, HIDALGO COUNTY, JEFFERSON COUNTY, LEWISVILLE INDEPENDENT
SCHOOL DISTRICT, CITY OF MCALLEN, MCLENNAN COUNTY, CITY OF
MESQUITE, MONTGOMERY COUNTY, NUECES COUNTY, PARKER CAD,
ROCKWALL CAD, SAN MARCOS CISD, SMITH COUNTY, TARRANT COUNTY,
TOM GREEN CAD, VICTORIA COUNTY, WICHITA COUNTY TAX OFFICE,
RANDALL COUNTY TAX OFFICE, BRAZORIA COUNTY, BRAZORIA COUNTY
SPECIAL ROAD & BRIDGE, ALVIN INDEPENDENT SCHOOL DISTRICT, ALVIN
COMMUNITY COLLEGE, BRAZORIA COUNTY DRAINAGE DISTRICT #4,
PEARLAND MUNICIPAL MANAGEMENT, BRAZORIA MUNICIPAL UTILITY
DISTRICT #06, WOODLANDS METRO MUNICIPAL UTILITY DISTRICT,
WOODLANDS ROAD UTILITY DISTRICT, CLEAR CREEK INDEPENDENT SCHOOL
DISTRICT, HUMBLE INDEPENDENT SCHOOL DISTRICT, PASADENA
INDEPENDENT SCHOOL DISTRICT, SPRING BRANCH INDEPENDENT SCHOOL
DISTRICT, CITY OF HOUSTON, LUBBOCK CENTRAL APPRAISAL DISTRICT,
MIDLAND COUNTY, CITY OF LAKE WORTH, CROWLEY INDEPENDENT SCHOOL
DISTRICT, GRAPEVINE-COLLEYVILLE INDEPENDENT SCHOOL DISTRICT, FRISCO
INDEPENDENT SCHOOL DISTRICT, PLANO INDEPENDENT SCHOOL DISTRICT,
BELL COUNTY TAX APPRAISAL DISTRICT, BOWIE CENTRAL APPRAISAL
DISTRICT, BRAZOS COUNTY, DENTON COUNTY, GUADALUPE COUNTY, HAYS
COUNTY, MIDLAND CENTRAL APPRAISAL DISTRICT, TAYLOR COUNTY                                              ATTN: JOSHUA S. BAUCHNER
CENTRAL APPRAISAL DISTRICT, CITY OF WACO, WACO INDEPENDENT          ANSELL GRIMM & AARON,              365 RIFLE CAMP ROAD
SCHOOL DISTRICT AND WILLIAMSON COUNTY"                              P.C.                               WOODLAND PARK NJ 07424 JB@ANSELLGRIMM.COM            Email
                                                                                                       ATTN: JERROLD S. KULBACK
COUNSEL TO HINGHAM LAUNCH PROPERTY, LLC AND CP VENTURE FIVE –                                          1025 LAUREL OAK ROAD
AV, LLC                                                                  ARCHER & GREINER, P.C.        VOORHEES NJ 08043-3506   JKULBACK@ARCHERLAW.COM      Email
COUNSEL TO AIRPORT PLAZA, LLC, C T CENTER S.C., LP, CFH REALTY
III/SUNSET VALLEY, L.P., CHICO CROSSROADS, L.P., CONROE MARKETPLACE
S.C., L.P., FLAGLER S.C., LLC, FRANKLIN PARK S.C., LLC, KIMCO REALTY OP,
LLC, KIMCO RIVERVIEW, LLC, KIR BRANDON 011, LLC, KIR BRIDGEWATER 573,
LLC, KIR MONTGOMERY 049, LLC, KIR PASADENA II L.P., KIR SONCY L.P., KIR                                ATTN: BRETT D. GOODMAN,
TUKWILA L.P., KSI CARY 483, LLC, MOORESVILLE CROSSING, LP, PL DULLES                                   ESQ.
LLC, PRICE/BAYBROOK LTD., REDFIELD PROMENADE, LP, TALISMAN TOWSON                                      1301 AVENUE OF THE
LIMITED PARTNERSHIP, WEINGARTEN NOSTAT, LLC, WRI MUELLER, LLC,                                         AMERICAS
WRI/RALEIGH L.P., AND WRI-URS SOUTH HILL, LLC (COLLECTIVELY, THE                                       42ND FLOOR
“KIMCO LANDLORDS”)                                                       ARENTFOX SCHIFF LLP           NEW YORK NY 10019         BRETT.GOODMAN@AFSLAW.COM   Email



       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                               Page 2 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                           Desc Main
                                                                         Document    Page 6 of 38
                                                                                           Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                             ADDRESS                         EMAIL           METHOD OF SERVICE
                                                                                                     ATTN: GREGORY A. TAYLOR &
                                                                                                     DON A. BESKRONE
                                                                                                     500 DELAWARE AVENUE 8TH
                                                                                                     FLOOR
                                                                                                     P.O. BOX 1150               GTAYLOR@ASHBYGEDDES.COM
COUNSEL TO RETAILMENOT, INC.                                        ASHBY & GEDDES, P.A.             WILMINGTON DE 19801         DBESKRONE@ASHBYGEDDES.COM   Email
                                                                                                     ATTN: MOE FREEDMAN
                                                                                                     CADILLAC PLACE BUILDING
                                                                                                     3030 W. GRAND BLVD. STE. 10-
                                                                    ASSISTANT ATTORNEY               200
COUNSEL TO THE MICHIGAN DEPARTMENT OF TREASURY                      GENERAL FOR MICHIGAN             DETROIT MI 48202            FREEDMANM1@MICHIGAN.GOV     Email
                                                                                                     ATTN: ROBERT J. SPROUL
                                                                                                     ONE HARRISON STREET, S.E.
                                                                    ASSISTANT COUNTY                 P.O. BOX 7000
COUNSEL TO THE COUNTY OF LOUDOUN, VIRGINIA                          ATTORNEY                         LEESBURG VA 20177-7000      ROBERT.SPROUL@LOUDOUN.GOV   Email
                                                                                                     ATTN: J. DAVID FOLDS
                                                                    BAKER, DONELSON,                 901 K STREET NW
COUNSEL TO HART MIRACLE MARKETPLACE, LLC, BAYER DEVELOPMENT         BEARMAN, CALDWELL &              SUITE 900
COMPANY, LLC, HART TC I-III, LLC, COBB PLACE PROPERTY, LLC          BERKOWITZ, PC                    WASHINGTON DC 20001         DFOLDS@BAKERDONELSON.COM    Email
                                                                                                     ATTN: KENNETH M. KLEMM
                                                                    BAKER, DONELSON,                 201 ST. CHARLES AVENUE
                                                                    BEARMAN, CALDWELL &              36TH FLOOR
COUNSEL TO HART MIRACLE MARKETPLACE, LLC                            BERKOWITZ, PC                    NEW ORLEANS LA 70170        KKLEMM@BAKERDONELSON.COM    Email
                                                                                                     ATTN: KENNETH M. KLEMM
                                                                    BAKER, DONELSON,                 201 ST. CHARLES AVENUE
                                                                    BEARMAN, CALDWELL &              36TH FLOOR
COUNSEL TO COBB PLACE PROPERTY, LLC                                 BERKOWITZ, PC                    NEW ORLEANS LA 70170        KKLEMM@BAKERDONELSON.COM    Email

                                                                                            ATTN: LESLIE C. HEILMAN,
                                                                                            ESQ. & LAUREL D. ROGLEN,
                                                                                            ESQ.
                                                                                            919 N. MARKET STREET, 11TH
                                                                                            FLOOR                      HEILMANL@BALLARDSPAHR.COM
COUNSEL TO BRIXMOR OPERATING PARTNERSHIP LP.                        BALLARD SPAHR LLP       WILMINGTON DE 19801-3034 ROGLENL@BALLARDSPAHR.COM                Email
                                                                                            ATTN: CORPORATE TRUST
                                                                                            UNIT
                                                                                            101 BARCLAY STREET
INDENTURE TRUSTEE TO THE DEBTORS’ SENIOR UNSECURED NOTES            BANK OF NEW YORK MELLON NEW YORK NY 10286                                                First Class Mail




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                             Page 3 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                    Desc Main
                                                                         Document    Page 7 of 38
                                                                                        Exhibit A
                                                                                    Master Service List
                                                                                 Served as set forth below

                                    DESCRIPTION                              NAME                     ADDRESS                         EMAIL                  METHOD OF SERVICE
                                                                                            ATTN: PRESIDENT OR
                                                                                            GENERAL COUNSEL
                                                                                            240 GREENWICH STREET
INDENTURE TRUSTEE TO THE DEBTORS’ SENIOR UNSECURED NOTES            BANK OF NEW YORK MELLON NEW YORK NY 10286                                              First Class Mail
                                                                                            ATTN: RJ HUGHES JUSTICE
                                                                                            COMPLEX
                                                                                            25 MARKET STREET
STATE OF NEW JERSEY ATTORNEY GENERAL                                BANKRUPTCY DEPARTMENT TRENTON NJ 08625-0080         ASKCONSUMERAFFAIRS@LPS.STATE.NJ.US Email
                                                                                            ATTN: RJ HUGHES JUSTICE
                                                                                            COMPLEX
                                                                                            P.O. BOX 080
STATE OF NEW JERSEY ATTORNEY GENERAL                                BANKRUPTCY DEPARTMENT TRENTON NJ 08625-0080         ASKCONSUMERAFFAIRS@LPS.STATE.NJ.US Email
                                                                                            ATTN: KEVIN M. NEWMAN,
COUNSEL TO RPT REALTY, L.P., INLAND COMMERCIAL REAL ESTATE                                  ESQ.
SERVICES, L.L.C., DLC MANAGEMENT CORP., RIVERCREST REALTY                                   BARCLAY DAMON TOWER
ASSOCIATES, LLC, NATIONAL REALTY & DEVELOPMENT CORP., WESTFIELD                             125 EAST JEFFERSON STREET
LLC, & MISSION VALLEY SHOPPINGTOWN LLC (THE "CREDITORS")            BARCLAY DAMON LLP       SYRACUSE NY 13202           KNEWMAN@BARCLAYDAMON.COM           Email
                                                                                            ATTN: NICLAS A. FERLAND,
COUNSEL TO RPT REALTY, L.P., INLAND COMMERCIAL REAL ESTATE                                  ESQ.
SERVICES, L.L.C., DLC MANAGEMENT CORP., RIVERCREST REALTY                                   545 LONG WHARF DRIVE
ASSOCIATES, LLC, NATIONAL REALTY & DEVELOPMENT CORP., WESTFIELD                             NINTH FLOOR
LLC, & MISSION VALLEY SHOPPINGTOWN LLC (THE "CREDITORS")            BARCLAY DAMON LLP       NEW HAVEN CT 06511          NFERLAND@BARCLAYDAMON.COM          Email
                                                                                            ATTN: SCOTT L. FLEISCHER
COUNSEL TO RPT REALTY, L.P., INLAND COMMERCIAL REAL ESTATE                                  1270 AVENUE OF THE
SERVICES, L.L.C., DLC MANAGEMENT CORP., RIVERCREST REALTY                                   AMERICAS
ASSOCIATES, LLC, NATIONAL REALTY & DEVELOPMENT CORP., WESTFIELD                             SUITE 501
LLC, & MISSION VALLEY SHOPPINGTOWN LLC (THE "CREDITORS")            BARCLAY DAMON LLP       NEW YORK NY 10020           SFLEISCHER@BARCLAYDAMON.COM        Email
                                                                                            ATTN: GREGORY G. PLOTKO,
                                                                                            ESQUIRE
                                                                                            390 MADISON AVENUE
                                                                                            12TH FLOOR
COUNSEL TO INFOR (US), LLC                                          BARNES & THORNBURG LLP NEW YORK NY 10017-2509       GPLOTKO@BTLAW.COM                  Email
                                                                                            ATTN: ALEC P. OSTROW,
                                                                                            WALTER E. SWEARINGEN
                                                                                            299 PARK AVENUE
                                                                    BECKER, GLYNN, MUFFLY,  16TH FLOOR                  AOSTROW@BECKERGLYNN.COM
COUNSEL TO TF CORNERSTONE INC. AND 200-220 WEST 26 LLC              CHASSIN & HOSINSKI LLP  NEW YORK NY 10017           WSWEARINGEN@BECKERGLYNN.COM        Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 4 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                         Desc Main
                                                                         Document    Page 8 of 38
                                                                                          Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                            ADDRESS                      EMAIL          METHOD OF SERVICE

                                                                                                    ATTN: JAY B. SOLOMON, ESQ.
                                                                                                    60 EAST 42ND STREET, 16TH
                                                                    BELKIN BURDEN GOLDMAN,          FLOOR
COUNSEL TO MASTIC ASSOCIATES OF NEW YORK LLC                        LLP                             NEW YORK NY 10165          JSOLOMON@BBGLLP.COM      Email

                                                                                                    ATTN: KEVIN M. CAPUZZI
                                                                                                    1313 NORTH MARKET STREET
                                                                    BENESCH, FRIEDLANDER,           SUITE 1201
COUNSEL TO INFOSYS LIMITED, AND PREP HOME RETAIL-OCEANSIDE LLC      COPLAN & ARONOFF LLP            WILMINGTON DE 19801      KCAPUZZI@BENESCHLAW.COM    Email
                                                                                                    ATTN: MIKE SHAKRA, JOSH
                                                                                                    FOSTER
                                                                                                    3400 ONE FIRST CANADIAN
                                                                                                    PLACE
                                                                                                    P.O. BOX 130
                                                                                                    TORONTO ON M5X 1A4       SHAKRAM@BENNETTJONES.COM
MONITOR TO THE CCAA PROCEEDING AND COUNSEL                          BENNETT JONES FIRM              CANADA                   FOSTERJ@BENNETTJONES.COM   Email
                                                                                                    ATTN: KEVIN ZYCH, SEAN
                                                                                                    ZWEIG, MICHAEL SHAKRA &
                                                                                                    JOSHUA FOSTER
                                                                                                    3400 ONE FIRST CANADIAN
                                                                                                    PLACE                    ZYCHK@BENNETTJONES.COM
                                                                                                    P.O. BOX 130             ZWEIGS@BENNETTJONES.COM
                                                                                                    TORONTO ON M5X 1A4       SHAKRAM@BENNETTJONES.COM
COUNSEL TO COURT-APPOINTED MONITOR                                  BENNETT JONES LP                CANADA                   FOSTERJ@BENNETTJONES.COM   Email
                                                                                                    ATTN: KERI P. EBECK
                                                                                                    601 GRANT STREET, 9TH
                                                                                                    FLOOR
COUNSEL TO DUQUESNE LIGHT COMPANY                                   BERNSTEIN-BURKLEY, P.C.         PITTSBURGH PA 15219      KEBECK@BERNSTEINLAW.COM    Email
                                                                                                    ATTN: JOHN GRECO
                                                                                                    151 BODMAN PLACE
                                                                    BETANCOURT, GRECO &             SUITE 200
COUNSEL FOR EVERGREEN SHIPPING AGENCY (AMERICA) CORPORATION         EVANS LLC                       RED BANK NJ 07701        JGRECO@BGE-LAW.COM         Email
                                                                                                    ATTN: ERNIE ZACHARY PARK
                                                                                                    13215 E. PENN ST.
                                                                    BEWLEY, LASSLEBEN &             SUITE 510
ATTORNEY FOR HUNTINGTON OAKS DELAWARE PARTNERS, LLC                 MILLER, LLP                     WHITTIER CA 90602        ERNIE.PARK@BEWLEYLAW.COM   Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                            Page 5 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                   Desc Main
                                                                         Document    Page 9 of 38
                                                                                     Exhibit A
                                                                                 Master Service List
                                                                              Served as set forth below

                                    DESCRIPTION                            NAME                         ADDRESS                          EMAIL           METHOD OF SERVICE
                                                                                              ATTN: ANGELA L.
                                                                                              MASTRANGELO, DAVID M.
                                                                                              KLAUDER
COUNSEL TO VALLEY SQUARE I, L.P., CHRISTIANA TOWN CENTER, LLC & CTC                           1905 SPRUCE STREET         MASTRANGELO@BK-LEGAL.COM
PHASE II, LLC                                                       BIELLI & KLAUDER, LLC     PHILADELPHIA PA 19103      DKLAUDER@BK-LEGAL.COM         Email
                                                                                              ATTN: JEFFREY I. SNYDER,
                                                                                              ESQ.
                                                                                              1450 BRICKELL AVENUE, 23RD
                                                                    BILZIN SUMBERG BAENA      FLOOR
COUNSEL TO DADELAND STATION ASSOCIATES, LTD.                        PRICE & AXELROD LLP       MIAMI FL 33131             JSNYDER@BILZIN.COM            Email
                                                                                              ATTN: MATTHEW E. KASLOW
                                                                                              130 NORTH 18TH STREET
COUNSEL TO WILLOWBROOK TOWN CENTER, LLC ("WILLOWBROOK")             BLANK ROME LLP            PHILADELPHIA PA 19103      MATT.KASLOW@BLANKROME.COM     Email
                                                                                              ATTN: JEFFERY A. LESTER,
                                                                                              ESQ.
                                                                                              374 MAIN STREET
COUNSEL TO WESTERN CARRIERS, INC.                                   BRAVERMAN & LESTER        HACKENSACK NJ 07601                                      First Class Mail
                                                                                              ATTN: PERETZ BRONSTEIN,
                                                                                              ESQ.
                                                                                              60 EAST 42ND STREET, SUITE
                                                                    BRONSTEIN, GEWIRTZ &      4600
COUNSEL TO BRATYA SPRL                                              GROSSMAN, LLC             NEW YORK NY 10165          PERETZ@BGANDG.COM             Email
                                                                                              ATTN: JAMI B. NIMEROFF,
                                                                                              ESQUIRE
                                                                                              TWO PENN CENTER, SUITE
                                                                                              610
                                                                                              1500 JOHN F. KENNEDY
                                                                    BROWN MCGARRY NIMEROFF BOULEVARD
COUNSEL TO WALDORF SHOPPERS’ WORLD, LLC (“WALDORF”)                 LLC                       PHILADELPHIA PA 19102      JNIMEROFF@BMNLAWYERS.COM      Email
                                                                                              ATTN: ANTHONY J.
                                                                                              NAPOLITANO
                                                                                              1000 WILSHIRE BOULEVARD
                                                                                              SUITE 1500
COUNSEL TO PREP HOME RETAIL-OCEANSIDE LLC                           BUCHALTER                 LOS ANGELES CA 90017-1730 ANAPOLITANO@BUCHALTER.COM      Email
                                                                                              ATTN: SHAWN M.
                                                                                              CHRISTIANSON, ESQ.
                                                                                              425 MARKET STREET
                                                                                              SUITE 2900
                                                                    BUCHALTER, A PROFESSIONAL SAN FRANCISCO CA 94105-
COUNSEL TO ORACLE AMERICA, INC.                                     CORPORATION               3493                       SCHRISTIANSON@BUCHALTER.COM   Email


       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                      Page 6 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                           Desc Main
                                                                        Document     Page 10 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                           ADDRESS                         EMAIL           METHOD OF SERVICE
                                                                                                   ATTN: KRISTEN P. WATSON,
                                                                                                   ESQ.
                                                                                                   420 N. 20TH STREET, 3400
COUNSEL TO COMENITY CAPITAL BANK                                    BURR & FORMAN LLP              BIRMINGHAM AL 35203        KWATSON@BURR.COM             Email
                                                                                                                              PAUL.MURPHY@BUTLERSNOW.COM
                                                                                                                              ECF.NOTICES@BUTLERSNOW.COM
                                                                                            ATTN: PAUL S. MURPHY
                                                                                            P.O. DRAWER 4248                  KITTY.LOGAN@BUTLERSNOW.COM
COUNSEL TO CREDITOR, PITTSBURGH HILTON HEAD ASSOCIATES L.P.        BUTLER SNOW LLP          GULFPORT MS 39502                                              Email
                                                                                            ATTN: JOEL H. LEVITIN, ESQ.,
                                                                                            AND RICHARD A. STIEGLITZ
                                                                                            JR., ESQ.
                                                                   CAHILL GORDON & REINDEL 32 OLD SLIP                        JLEVITIN@CAHILL.COM
COUNSEL TO 1-800-FLOWERS.COM, INC. (“1-800-FLOWERS”)               LLP                      NEW YORK NY 10005                 RSTIEGLITZ@CAHILL.COM        Email
                                                                                            ATTN: KEVIN C. CALHOUN
                                                                                            29828 TELEGRAPH ROAD
COUNSEL TO OAKLAND COUNTY TREASURER                                CALHOUN & DI PONIO, PLC  SOUTHFIELD MI 48034-1338          KEVIN@LAWYERMICH.COM         Email
                                                                                            ATTN: WILLIAM G. WRIGHT,
                                                                                            ESQ.
                                                                                            8000 MIDLANTIC DRIVE
                                                                   CAPEHART & SCATCHARD,    SUITE 300 S
COUNSEL TO ARC INTERNATIONAL NORTH AMERICA, LLC                    P.A.                     MT. LAUREL NJ 08054               WWRIGHT@CAPEHART.COM         Email
                                                                                            ATTN: AARON R. CAHN
                                                                                            28 LIBERTY STREET
                                                                   CARTER LEDYARD & MILBURN 41ST FLOOR
COUNSEL TO THE BANK OF NEW YORK MELLON, AS TRUSTEE                 LLP                      NEW YORK NY 10005                 BANKRUPTCY@CLM.COM           Email
                                                                                            ATTN: JASPREET S. MAYALL,
                                                                                            THOMAS J. MONROE
COUNSEL TO SEROTA ISLIP, NC LLC, AND 3600 LONG BEACH ROAD, LLC AND CERTILMAN BALIN ADLER & 90 MERRICK AVENUE                  JMAYALL@CERTILMANBALIN.COM
SEROTA ISLIP NC LLC                                                HYMAN, LLP               EAST MEADOW NY 11554              TMONROE@CERTILMANBALIN.COM   Email

                                                                                                   ATTN: FERNAND L.
                                                                                                   LAUDUMIEY, IV
                                                                                                   2300 ENERGY CENTRE
                                                                                                   1100 POYDRAS STREET
COUNSEL TO RICHARDS CLEARVIEW, LLC                                  CHAFFE MCCALL, LLP             NEW ORLEANS LA 70163-2300 LAUDUMIEY@CHAFFE.COM          Email
                                                                                                   ATTN: BRIAN KANTAR, ESQ.
                                                                    CHIESA SHAHINIAN &             105 EISENHOWER PARKWAY
COUNSEL TO ARCH INSURANCE COMPANY                                   GIANTOMASI PC                  ROSELAND NJ 07068         BKANTAR@CSGLAW.COM            Email



       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                           Page 7 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                           Desc Main
                                                                        Document     Page 11 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                          ADDRESS                            EMAIL        METHOD OF SERVICE
                                                                                                   ATTN: SCOTT A. ZUBER, BRIAN
                                                                                                   KANTAR
                                                                    CHIESA SHAHINIAN &             105 EISENHOWER PARKWAY BKANTAR@CSGLAW.COM
COUNSEL TO ARCH INSURANCE COMPANY                                   GIANTOMASI PC                  ROSELAND NJ 07068            SZUBER@CSGLAW.COM         Email
                                                                                                   ATTN: ALBERT A. CIARDI, III,
                                                                                                   ESQ & NICOLE M. NIGRELLI,
                                                                                                   ESQ
COUNSEL TO RAINIER COLONY PLACE ACQUISTIONS LLC AND THE ANNA                                       1905 SPRUCE STREET           ACIARDI@CIARDILAW.COM
MSCISZ TRUST                                                        CIARDI CIARDI & ASTIN          PHILADELPHIA PA 19103        NNIGRELLI@CIARDILAW.COM   Email

                                                                                         ATTN: PAMELA ELCHERT
                                                                                         THURMOND
                                                                                         1401 JFK BLVD
                                                               CITY OF PHILADELPHIA LAW- 5TH FLOOR
COUNSEL TO THE CITY OF PHILADELPHIA                            TAX & REVENUE UNIT        PHILADELPHIA PA 19102-1595 PAMELA.THURMOND@PHILA.GOV             Email
                                                                                         ATTN: ROBERT P. FRANKE
COUNSEL TO CANTON CORNERS/FORD ROAD LLC, A&W ACQUISITIONS, CPT                           901 MAIN STREET
LOUISVILLE I LLC, SANTAN MP, LP, VPQCM, LLC, WEINGARTEN REALTY                           SUITE 6000                   BFRANKE@CLARKHILL.COM
INVESTORS AND SURPRISE MARKETPLACE HOLDINGS, LLC               CLARK HILL PLC            DALLAS TX 75202-3794         AHORNISHER@CLARKHILL.COM            Email
                                                                                         ATTN: ALEXANDER F. BARTH
                                                                                         1600 MARKET STREET
                                                               COHEN SEGLIAS PALLAS      32ND FLOOR                   ABARTH@COHENSEGLIAS.COM
COUNSEL TO CHE CHEN LIU AND SHU FEN LIU REVOCABLE TRUST        GREENHALL & FURMAN, P.C. PHILADELPHIA PA 19103         ERASSMAN@COHENSEGLIAS.COM           Email
                                                                                         ATTN: EVAN W. RASSMAN,
                                                                                         ESQ.
                                                                                         500 DELAWARE AVENUE
COUNSEL TO DT-SGW, LLC, AND CHEN LIU AND SHU FEN LIE REVOCABLE COHEN SEGLIAS PALLAS      SUITE 730
TRUST                                                          GREENHALL & FURMAN, P.C. WILMINGTON DE 19801           ERASSMAN@COHENSEGLIAS.COM           Email
                                                                                         ATTN: WILLIAM R. FIRTH, III,
                                                                                         ESQ.
                                                                                         ONE NEWARK CENTER
                                                                                         1085 RAYMOND BOULEVARD,
                                                               COHEN SEGLIAS PALLAS      21ST FLOOR
COUNSEL TO DT-SGW, LLC                                         GREENHALL & FURMAN, P.C. NEWARK NJ 07102               WFIRTH@COHENSEGLIAS.COM             Email
                                                                                         ATTN: GEORGE HOFMANN
                                                                                         111 EAST BROADWAY, 11TH
                                                                                         FLOOR
COUNSEL TO AKAMAI TECHNOLOGIES, INC.                           COHNE KINGHORN, P.C.      SALT LAKE CITY UT 84111      GHOFMANN@CK.LAW                     Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                           Page 8 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                          Desc Main
                                                                        Document     Page 12 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                          ADDRESS                         EMAIL                 METHOD OF SERVICE
                                                                                                  ATTN: MICHAEL D. SIROTA,
                                                                                                  WARREN A. USATINE, FELICE
                                                                                                  R. YUDKIN
                                                                                                  COURT PLAZA NORTH           MSIROTA@COLESCHOTZ.COM
                                                                                                  25 MAIN STREET              WUSATINE@COLESCHOTZ.COM
COUNSEL TO THE DEBTORS                                              COLE SCHOTZ P.C.              HACKENSACK NJ 7601          FYUDKIN@COLESCHOTZ.COM            Email
                                                                                                  ATTENTION BANKRUPTCY
                                                                                                  DEPT
                                                                    COMMONWEALTH OF               APARTADO 9020192
COMMONWEALTH OF PUERTO RICO                                         PUERTO RICO                   SAN JUAN PR 00902-0192                                        First Class Mail
                                                                                                  ATTN: CHRISTINA
                                                                                                  STEPHENSON, ESQ.
                                                                                                  2525 MCKINNON STREET
                                                                                                  SUITE 425                   CRISSIE.STEPHENSON@CROWEDUNLEVY.C
COUNSEL TO TPP BRYANT, LLC ("BRYANT")                               CROWE & DUNLEVY               DALLAS TX 75201             OM                                Email

COUNSEL TO AMERICAN ELECTRIC POWER, ARIZONA PUBLIC SERVICE
COMPANY, GEORGIA POWER COMPANY, SALT RIVER PROJECT, SAN DIEGO
GAS AND ELECTRIC COMPANY, SOUTHERN CALIFORNIA EDISON COMPANY,
THE CLEVELAND ELECTRIC ILLUMINATING COMPANY, TOLEDO EDISON
COMPANY, OHIO EDISON COMPANY, PENNSYLVANIA POWER COMPANY,
MONONGAHELA POWER COMPANY, POTOMAC EDISON COMPANY, WEST
PENN POWER COMPANY, JERSEY CENTRAL POWER & LIGHT COMPANY, THE
CONNECTICUT LIGHT & POWER COMPANY, YANKEE GAS SERVICE COMPANY,
PUBLIC SERVICE COMPANY OF NEW HAMPSHIRE, EVERSOURCE GAS OF
MASSACHUSETTS, NSTAR ELECTRIC COMPANY, WESTERN MASSACHUSETTS,
TAMPA ELECTRIC COMPANY, PEOPLES GAS SYSTEM, INC., ROCHESTER GAS &
ELECTRIC CORPORATION, PSEG LONG ISLAND, TUCSON ELECTRIC POWER
COMPANY, UNS GAS, INC., CONSOLIDATED EDISON COMPANY OF NEW
YORK, INC., BALTIMORE GAS AND ELECTRIC COMPANY, FLORIDA POWER &
LIGHT COMPANY, BOSTON GAS COMPANY, COLONIAL GAS CAPE COD,
KEYSPAN ENERGY DELIVERY LONG ISLAND, KEYSPAN ENERGY DELIVERY NEW
YORK, MASSACHUSETTS ELECTRIC COMPANY, NARRAGANSETT ELECTRIC
COMPANY, NIAGARA MOHAWK POWER CORPORATION, VIRGINIA ELECTRIC
AND POWER COMPANY D/B/A DOMINION ENERGY VIRGINIA, THE EAST
OHIO GAS COMPANY D/B/A DOMINION ENERGY OHIO, PECO ENERGY                                          ATTN: MICHAEL
COMPANY, DELMARVA POWER & LIGHT COMPANY, ATLANTIC CITY ELECTRIC                                   KWIATKOWSKI
COMPANY, NV ENERGY, INC., PUBLIC SERVICE ELECTRIC AND GAS COMPANY,                                100 QUENTIN ROOSEVELT
NEW YORK STATE ELECTRIC AND GAS CORPORATION, AND                                                  BOULEVARD
COMMONWEALTH EDISON COMPANY                                        CULLEN AND DYKMAN LLP          GARDEN CITY NY 11530        MKWIATKOWSKI@CULLENLLP.COM        Email


       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                          Page 9 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                              Desc Main
                                                                        Document     Page 13 of 38
                                                                                            Exhibit A
                                                                                        Master Service List
                                                                                     Served as set forth below

                                    DESCRIPTION                                NAME                            ADDRESS                          EMAIL                METHOD OF SERVICE
                                                                                                     ATTN: EDMOND P. O’BRIEN,
                                                                                                     JEFFREY C. RUDERMAN, ESQ.
                                                                                                     420 LEXINGTON AVENUE
                                                                    CYRULI, SHANKS & ZIZMOR,         SUITE 2320
COUNSEL TO RXR 620 MASTER LESSEE LLC                                LLP                              NEW YORK NY 10170                                             First Class Mail

                                                                                                     ATTN: ADAM L. SHPEEN, ESQ.
                                                                    DAVIS POLK & WARDWELL,           450 LEXINGTON AVENUE
COUNSEL TO JPMORGAN CHASE BANK N.A.                                 LLC                              NEW YORK NY 10017            ADAM.SHPEEN@DAVISPOLK.COM        Email
                                                                                                     ATTN: NATASHA TSIOURIS,
                                                                                                     ADAM SHPEEN, & MICHAEL
                                                                                                     PERA                         MICHAEL.PERA@DAVISPOLK.COM
                                                                    DAVIS POLK & WARDWELL,           450 LEXINGTON AVENUE         ADAM.SHPEEN@DAVISPOLK.COM
COUNSEL TO THE PREPETITION ABL AGENT                                LLP                              NEW YORK NY 10017            NATASHA.TSIOURIS@DAVISPOLK.COM   Email
                                                                                                     ATTN: STEPHEN R.
                                                                                                     CATANZARO
                                                                                                     ONE JEFFERSON ROAD
COUNSEL TO GOTHAM TECHNOLOGY GROUP, LLC (“GOTHAM”)                  DAY PITNEY LLP                   PARSIPPANY NJ 07054          SCATANZARO@DAYPITNEY.COM         Email
                                                                                                     ATTN: LAUREN MACKSOUND
                                                                                                     1221 AVENUE OF THE
                                                                                                     AMERICAS
COUNSEL TO MISHORIM 255, LLC AND MISHORIM GOLD HOUSTON, LLC         DENTONS SIROTE PC                NEW YORK NY 10020-1089       LAUREN.MACKSOUD@DENTONS.COM      Email
                                                                                                     ATTN: THOMAS B.
                                                                                                     HUMPHRIES
                                                                                                     2311 HIGHLAND AVE
                                                                                                     SUITE 500
COUNSEL TO MISHORIM 255, LLC AND MISHORIM GOLD HOUSTON, LLC         DENTONS SIROTE PC                BIRMINGHAM AL 35205          THOMAS.HUMPHRIES@DENTONS.COM     Email

                                                                                                     ATTN: AARON S. APPLEBAUM
                                                                                                     1201 NORTH MARKET STREET
COUNSEL FOR CONTINENTAL REALTY CORPORATION, AND WM SUNSET &                                          SUITE 2100
VINE LLC                                                            DLA PIPER LLP (US)               WILMINGTON DE 19801      AARON.APPLEBAUM@US.DLAPIPER.COM      Email
                                                                                                     ATTN: RICHARD M. KREMEN
                                                                                                     THE MARBURY BUILDING
COUNSEL FOR CONTINENTAL REALTY CORPORATION, AND WM SUNSET &                                          6225 SMITH AVENUE
VINE LLC                                                            DLA PIPER LLP (US)               BALTIMORE MD 21209-3600 RICHARD.KREMEN@DLAPIPER.COM           Email
                                                                                                     ATTN: LAWRENCE J. KOTLER
                                                                                                     30 SOUTH 17TH STREET
COUNSEL TO NP NEW CASTLE, LLC                                       DUANE MORRIS LLP                 PHILADELPHIA PA 19103    LJKOTLER@DUANEMORRIS.COM             Email



       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                             Page 10 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                        Desc Main
                                                                        Document     Page 14 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                           DESCRIPTION                                   NAME                                 ADDRESS                     EMAIL                  METHOD OF SERVICE
COUNSEL TO ACE AMERICAN INSURANCE COMPANY, ACE PROPERTY &
CASUALTY INSURANCE COMPANY, WESTCHESTER FIRE INSURANCE
COMPANY, WESTCHESTER SURPLUS LINES INSURANCE COMPANY,
INDEMNITY INSURANCE COMPANY OF NORTH AMERICA, FEDERAL
INSURANCE COMPANY, CHUBB CUSTOM INSURANCE COMPANY, EXECUTIVE
RISK SPECIALTY INSURANCE COMPANY, EXECUTIVE RISK INDEMNITY INC.,
GREAT NORTHERN INSURANCE COMPANY, CHUBB INSURANCE COMPANY OF                                      ATTN: WENDY M. SIMKULAK
NEW JERSEY, VIGILANT INSURANCE COMPANY, CHUBB INDEMNITY                                           30 SOUTH 17TH STREET
INSURANCE COMPANY, ESIS, INC.                                    DUANE MORRIS LLP                 PHILADELPHIA PA 19103      WMSIMKULAK@DUANEMORRIS.COM        Email
                                                                                                  ATTN: MORRIS S. BAUER &
                                                                                                  SOMMER L. ROSS, ESQ.
                                                                                                  ONE RIVERFRONT PLAZA
                                                                                                  1037 RAYMOND BLVD., SUITE
                                                                                                  1800                       MSBAUER@DUANEMORRIS.COM
COUNSEL TO SIXTH STREET SPECIALTY LENDING, INC                      DUANE MORRIS LLP              NEWARK NJ 07102            SLROSS@DUANEMORRIS.COM            Email
                                                                                                  ATTN: SOMMER L. ROSS
                                                                                                  1940 ROUTE 70 EAST
                                                                                                  SUITE 100
COUNSEL TO SIXTH STREET SPECIALTY LENDING, INC                      DUANE MORRIS LLP              CHERRY HILL NJ 08003-2171 SLROSS@DUANEMORRIS.COM             Email
                                                                                                  ATTN: ELLIOT D. OSTROVE,
                                                                                                  ESQ., VAHBIZ P. KARANJIA,
                                                                                                  ESQ.
                                                                                                  200 METROPLEX DRIVE, SUITE
                                                                                                  304                        E.OSTROVE@EPSTEINOSTROVE.COM
COUNSEL TO IRIS SOFTWARE, INC.                                      EPSTEIN OSTROVE, LLC          EDISON NJ 08817            V.KARANJIA@EPSTEINOSTROVE.COM     Email
                                                                                                  ATTN: BRIAN P. MORGAN
                                                                                                  1177 AVENUE OF THE
                                                                                                  AMERICAS
COUNSEL TO PROLOGIS, PROLOGIS USLF NV II, LLC, AND PRW URBAN        FAEGRE DRINKER BIDDLE &       41ST FLOOR
RENEWAL 1, LLC                                                      REATH LLP                     NEW YORK NY 10036          BRIAN.MORGAN@FAEGREDRINKER.COM    Email
                                                                                                  ATTN: FRANK F. VELOCCI
COUNSEL TO PROLOGIS, PROLOGIS USLF NV II, LLC, AND PRW URBAN        FAEGRE DRINKER BIDDLE &       600 CAMPUS DRIVE
RENEWAL 1, LLC                                                      REATH LLP                     FLORHAM PARK NJ 07932      FRANK.VELOCCI@FAEGREDRINKER.COM   Email
                                                                                                  ATTN: JACLYN SCARDUZIO
                                                                                                  DOPKE, ESQ.
                                                                                                  FOUR GREEN TREE CENTRE
                                                                    FLEISCHER, FLEISCHER &        601 ROUTE 73 N., SUITE 305
COUNSEL TO FEDERAL SERVICE SOLUTIONS                                SUGLIA, P.C.                  MARLTON NJ 08053           JDOPKE@FLEISCHERLAW.COM           Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                          Page 11 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                       Desc Main
                                                                        Document     Page 15 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                                 NAME                        ADDRESS                      EMAIL           METHOD OF SERVICE
                                                                                                  ATTN: JORDAN S. BLASK
                                                                                                  501 GRANT STREET
COUNSEL TO WPG LEGACY, LLC AND SELECT CONSOLIDATED MANAGEMENT,                                    SUITE 800
LLC                                                            FROST BROWN TODD LLP               PITTSBURGH PA 15219      JBLASK@FBTLAW.COM           Email
                                                                                                  ATTN: RONALD E. GOLD
                                                                                                  3300 GREAT AMERICAN
                                                                                                  TOWER
                                                                                                  301 EAST FOURTH STREET
COUNSEL TO WPG LEGACY, LLC                                          FROST BROWN TODD LLP          CINCINNATI OH 45202      RGOLD@FBTLAW.COM            Email
                                                                                                  ATTN: RICHARD L. FUQUA
                                                                                                  8558 KATY FREEWAY
                                                                                                  SUITE 119
COUNSEL TO HCL TEXAS AVENUE, LLC & PTC TX HOLDINGS, LLC             FUQUA & ASSOCIATES, P.C.      HOUSTON TX 77024         FUQUA@FUQUALEGAL.COM        Email

                                                                                                  ATTN: STUART D. GAVZY
COUNSEL FOR ROCKAWAY TOWNSHIP AND TAX COLLECTOR, ROCKAWAY                                         8171 E. DEL BARQUERO DRIVE
TOWNSHIP                                                            GAVZY LAW                     SCOTTSDALE AZ 85258        STUART@GAVZYLAW.COM       Email

                                                                                              ATTN: RONALD S. GELLERT,
                                                                                              MICHAEL BUSENKELL, ESQ.,
                                                                                              AMY D. BROWN, ESQ.
                                                                                              1201 NORTH ORANGE STREET RGELLERT@GSBBLAW.COM
                                                                    GELLERT SCALI BUSENKELL & SUITE 300                     MBUSENKELL@GSBBLAW.COM
COUNSEL TO SERITAGE SRC FINANCE LLC                                 BROWN, LLC                WILMINGTON DE 19801           ABROWN@GSBBLAW.COM         Email
                                                                                              ATTN: DANIEL M. STOLZ, ESQ.,
                                                                                              GREGORY S. KINOIAN
                                                                                              110 ALLEN ROAD
                                                                                              SUITE 304                     DSTOLZ@GENOVABURNS.COM
COUNSEL TO AD HOC COMMITTEE OF BONDHOLDERS                          GENOVA BURNS, LLC         BASKING RIDGE NJ 07920        GKINOIAN@GENOVABURNS.COM   Email
                                                                                              ATTN: ROBERT K. MALONE,
                                                                                              ESQ., BRETT S. THEISEN, ESQ.,
                                                                                              KYLE P. MCEVILLY, ESQ.        RMALONE@GIBBONSLAW.COM
COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS (THE                                     ONE GATEWAY CENTER            BTHEISEN@GIBBONSLAW.COM
“CREDITORS’ COMMITTEE”)                                             GIBBONS P.C.              NEWARK NJ 07102-5310          KMCEVILLY@GIBBONSLAW.COM   Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                          Page 12 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                         Desc Main
                                                                        Document     Page 16 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                           ADDRESS                      EMAIL                     METHOD OF SERVICE
                                                                                                  ATTN: ANDREW K. GLENN,
                                                                                                  KURT MAYR, SHAI SCHMIDT,
                                                                                                  AGUSTINA G. BERRO, NAZNEN
                                                                                                  RAHMAN                    AGLENN@GLENNAGRE.COM
                                                                                                  1185 AVENUE OF THE        KMAYR@GLENNAGRE.COM
                                                                                                  AMERICAS                  SSCHMIDT@GLENNAGRE.COM
                                                                    GLENN AGRE BERGMAN &          22ND FLOOR                ABERRO@GLENNAGRE.COM
COUNSEL TO AD HOC COMMITTEE OF BONDHOLDERS                          FUENTES LLP                   NEW YORK NY 10036         NRAHMAN@GLENNAGRE.COM                 Email
                                                                                                  ATTN: KIZZY L. JARASHOW,
                                                                                                  MEREDITH L. MITNICK
                                                                                                  THE NEW YORK TIMES
                                                                                                  BUILDING
                                                                                                  620 EIGHTH AVENUE         KJARASHOW@GOODWINLAW.COM
COUNSEL TO SHARKNINJA OPERATING LLC                                 GOODWIN PROCTER LLP           NEW YORK NY 10018-1405    MMITNICK@GOODWINLAW.COM               Email
                                                                                                  ATTN: CAROL L. KNOWLTON,
                                                                                                  ESQUIRE
                                                                                                  311 WHITEHORSE AVENUE,
                                                                                                  SUITE A
COUNSEL TO CREDITOR, TFP LIMITED                                    GORSKI & KNOWLTON PC          HAMILTON NJ 08610         CKNOWLTON@GORSKIKNOWLTON.COM          Email
                                                                                                  ATTN: VANESSA P. MOODY,
                                                                                                  BRENDAN M. GAGE
COUNSEL TO HINGHAM LAUNCH PROPERTY, LLC AND CP VENTURE FIVE –                                     400 ATLANTIC AVENUE       VMOODY@GOULSTONSTORRS.COM
AV, LLC                                                             GOULSTON & STORRS PC          BOSTON MA 02110           BGAGE@GOULSTONSTORRS.COM              Email
                                                                                                  ATTN: DAVID GRAFF,
                                                                                                  MATTHEW J. SILVERSTEIN    DGRAFF@GRAFFSILVERSTEINLLP.COM
                                                                                                  3 MIDDLE PATENT ROAD      MSILVERSTEIN@GRAFFSILVERSTEINLLP.CO
COUNSEL TO TELEGRAPH MARKETPLACE PARTNERS II, LLC                   GRAFF SILVERSTEIN LLP         ARMONK NY 10504           M                                     Email
COUNSEL TO TRIPLE B MISSION VIEJO LLC (SUCCESSOR TO THE 1031                                      ATTN: DAVID L. BRUCK
NATIONAL EXCHANGE CORPORATION) & BROTHERS INTERNATIONAL             GREENBAUM, ROWE, SMITH        99 WOOD AVENUE SOUTH
HOLDING CORPORATION                                                 & DAVIS LLP                   ISELIN NJ 08830           DBRUCK@GREENBAUMLAW.COM               Email
                                                                                                  ATTN: DAVID L. BRUCK
COUNSEL TO BROTHERS INTERNATIONAL HOLDING CORPORATION AND           GREENBAUM, ROWE, SMITH        P.O. BOX 5600
ALMADEN PLAZA SHOPPING CENTER INC                                   & DAVIS LLP                   WOODBRIDGE NJ 07095       DBRUCK@GREENBAUMLAW.COM               Email
                                                                                                  ATTN: ALAN J. BRODY, ESQ.
                                                                                                  500 CAMPUS DRIVE
COUNSEL TO JPMORGAN CHASE BANK N.A. & ALEXANDER'S REGO SHOPPING                                   SUITE 400
CENTER, INC.                                                    GREENBERG TRAURIG, LLP            FLORHAM PARK NJ 07932     BRODYA@GTLAW.COM                      Email
                                                                                                  ATTN: HEATH B. KUSHNICK
                                                                                                  ONE VANDERBILT AVENUE
COUNSEL TO ALEXANDER'S REGO SHOPPING CENTER, INC.                   GREENBERG TRAURIG, LLP        NEW YORK NY 10017         KUSHNICKH@GTLAW.COM                   Email


       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                          Page 13 of 35
                                             Case 23-13359-VFP    Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                             Desc Main
                                                                         Document     Page 17 of 38
                                                                                               Exhibit A
                                                                                          Master Service List
                                                                                       Served as set forth below

                                    DESCRIPTION                                     NAME                         ADDRESS                        EMAIL               METHOD OF SERVICE
                                                                                                       ATTN: NANCY A. PETERMAN,
                                                                                                       ESQ.
                                                                                                       77 WEST WACKER DRIVE
                                                                                                       SUITE 3100
COUNSEL TO IKEA PROPERTY, INC.                                           GREENBERG TRAURIG, LLP        CHICAGO IL 60601           PETERMANN@GTLAW.COM             Email
                                                                                                       ATTN: PAUL SCHAFHAUSER,
                                                                                                       ESQ.
                                                                                                       500 CAMPUS DRIVE
                                                                                                       SUITE 400
COUNSEL TO IKEA PROPERTY, INC.                                           GREENBERG TRAURIG, LLP        FLORHAM PARK NJ 07932      PAUL.SCHAFHAUSER@GTLAW.COM      Email
                                                                                                       ATTN: JOHN K. TURNER
                                                                                                       120 W. MAIN, SUITE 201
COUNSEL TO CITY OF MESQUITE ("SECURED CREDITORS")                        GRIMES & LINEBARGER, LLP      MESQUITE TX 75149          DALLAS.BANKRUPTCY@LGBS.COM      Email
                                                                                                       ATTN: LOREN L. SPEZIALE,
                                                                                                       ESQUIRE
                                                                                                       33 SOUTH 7TH STREET
                                                                                                       PO BOX 4060
COUNSEL TO TOWNSHIP OF WHITEHALL                                         GROSS MCGINLEY, LLP           ALLENTOWN PA 18105-4060    LSPEZIALE@GROSSMCGINLEY.COM     Email
                                                                                                       ATTN: JORDAN A. LAVINSKY
                                                                                                       425 MARKET STREET
                                                                                                       26TH FLOOR
COUNSEL TO MARIN COUNTRY MART, LLC                                       HANSON BRIDGETT LLP           SAN FRANCISCO CA 94105     JLAVINSKY@HANSONBRIDGETT.COM    Email
                                                                                                       ATTN: JENNIFER V. DORAN,
                                                                                                       ESQ.
                                                                         HINCKLEY, ALLEN & SNYDER      28 STATE STREET
COUNSEL TO NPP DEVELOPMENT LLC                                           LLP                           BOSTON MA 02109            JDORAN@HINCKLEYALLEN.COM        Email

                                                                                                       ATTN: ROBERT S.
                                                                                                       WESTERMANN, ESQ. &
COUNSEL TO THE BRINK'S COMPANY, INCLUDING BUT NOT LIMITED TO,                                          BRITTANY B. FALABELLA, ESQ.
BRINK'S, INC., BRINK'S CAPITAL, AND ALL OTHER DIVISIONS, SUBSIDIARIES,                                 2100 EAST CARY STREET       RWESTERMANN@HIRSCHLERLAW.COM
AND RELATED ENTITIES ("BRINK'S")                                         HIRSCHLER FLEISCHER, P.C.     RICHMOND VA 23223           BFALABELLA@HIRSCHLERLAW.COM    Email
                                                                                                       ATTN: ERIN N. TESKE, ESQ.
                                                                                                       605 THIRD AVENUE, SUITE
COUNSEL TO BENCHMARK-CLARENCE ASSOCIATES, LLC AND SRK LADY LAKE                                        2300
21 SPE, LLC                                                     HODGSON RUSS LLP                       NEW YORK NY 10158           ETESKE@HODGSONRUSS.COM         Email
                                                                                                       ATTN: BARBRA R. PARLIN,
                                                                                                       ESQ.
                                                                                                       31 WEST 52ND STREET
COUNSEL TO ALTO NORTHPOINT, LP                                           HOLLAND & KNIGHT LLP          NEW YORK NY 10019           BARBRA.PARLIN@HKLAW.COM        Email


       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                               Page 14 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                    Desc Main
                                                                        Document     Page 18 of 38
                                                                                        Exhibit A
                                                                                    Master Service List
                                                                                 Served as set forth below

                                    DESCRIPTION                              NAME                         ADDRESS                    EMAIL                  METHOD OF SERVICE
                                                                                                 ATTN: DAVID STAUSS
                                                                                                 1801 WEWATTA STREET
                                                                                                 SUITE 1000
COUNSEL TO CBL & ASSOCIATES MANAGEMENT, INC.                        HUSCH BLACKWELL LLP          DENVER CO 80202        DAVID.STAUSS@HUSCHBLACKWELL.COM   Email


                                                                                             ATTN: CENTRALIZED
                                                                                             INSOLVENCY OPERATION
                                                                                             1111 PENNSYLVANIA AVE NW
INTERNAL REVENUE SERVICE                                            INTERNAL REVENUE SERVICE WASHINGTON DC 20004-2541                                     First Class Mail

                                                                                      ATTN: CENTRALIZED
                                                                                      INSOLVENCY OPERATION
                                                                                      P.O. BOX 7346
INTERNAL REVENUE SERVICE                                     INTERNAL REVENUE SERVICE PHILADELPHIA PA 19101-7346                                          First Class Mail
                                                                                      ATTN: RALPH LIUZZO
                                                                                      5850 WATERLOO ROAD
                                                                                      SUITE 245
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS                INTERSOFT DATA LABS INC. COLUMBIA MD 21045                                                   First Class Mail
                                                                                      ATTN: DAVID S. CATUOGNO,
                                                                                      ESQ.
                                                                                      ONE NEWARK CENTER, TENTH
                                                                                      FLOOR
                                                                                      1085 RAYMOND BOULEVARD
COUNSEL TO CARTUS CORPORATION                                K&L GATES LLP            NEWARK NJ 07102             DAVID.CATUOGNO@KLGATES.COM              Email
                                                                                      ATTN: DANIEL R. UTAIN,
COUNSEL TO NEWTOWN/BUCKS ASSOCIATES, L.P., CONSUMER CENTRE                            ESQUIRE, WILLIAM J. LEVANT,
PARAMOUNT 1, LLC, CONSUMER CENTRE PARAMOUNT 2, LLC, CONSUMER                          ESQUIRE
CENTRE PARAMOUNT 4, LLC, CONSUMER CENTRE PARAMOUNT 5, LLC,                            910 HARVEST DRIVE
CONSUMER CENTRE PARAMOUNT 6, LLC, CONSUMER CENTRE PARAMOUNT KAPLIN STEWART MELOFF     P.O. BOX 3037               DUTAIN@KAPLAW.COM
7, LLC                                                       REITER & STEIN, P.C.     BLUE BELL PA 19422          WLEVANT@KAPLAW.COM                      Email
                                                                                      ATTN: BILL KISSEL
                                                             KDM P.O.P. SOLUTIONS     10450 N. MEDALLION DRIVE
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS                GROUP                    CINCINNATI OH 45241                                                 First Class Mail




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 15 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                      Desc Main
                                                                        Document     Page 19 of 38
                                                                                        Exhibit A
                                                                                    Master Service List
                                                                                 Served as set forth below

                                    DESCRIPTION                              NAME                            ADDRESS                    EMAIL                  METHOD OF SERVICE

                                                                                                 ATTN: ROBERT L. LEHANE,     RLEHANE@KELLEYDRYE.COM
COUNSEL TO BENDERSON DEVELOPMENT COMPANY,BLUMENFELD                                              JENNIFER D. RAVIELE, CONNIE JRAVIELE@KELLEYDRYE.COM
DEVELOPMENT GROUP, LTD., BROOKFIELDPROPERTIES RETAIL, INC., KITE                                 CHOE, JAMES S. CARR,        CCHOE@KELLEYDRYE.COM
REALTY GROUP, LERNERPROPERTIES, OAK STREET REAL ESTATE, NUVEEN                                   MAEGHAN J. MCLOUGHLIN       KDWBANKRUPTCYDEPARTMENT@KELLEYD
REALESTATE, REGENCY CENTERS, L.P., SHOPCOREPROPERTIES, SITE CENTERS                              3 WORLD TRADE CENTER        RYE.COM
CORP. AND RYDER INTEGRATED LOGISTIC, INC. (TOP 30 UNSECURED                                      175 GREENWICH STREET        MMCLOUGHLIN@KELLEYDRYE.COM
CREDITOR)                                                           KELLEY DRYE & WARREN LLP     NEW YORK NY 10007           JCARR@KELLEYDRYE.COM            Email

                                                                                              ATTN: BANKRUPTCY DIVISION
                                                                                              C/O RACHEL MEDRANO
                                                                    KEN COUNTY TREASUER AND P.O. BOX 579
COUNSEL TO JORDAN KAUFMAN, TREASURER/TAX OF COLLECTOR               TAX COLLECTOR OFFICE      BAKERSFIELD CA 93302-0579 BANKRUPTCY@KERNCOUNTY.COM            Email
                                                                                              ATTN: RUCHI PRASAD
                                                                                              6 EAST 32ND STREET
                                                                                              9TH FLOOR
COUNSEL TO KEPLER GROUP LLC                                         KEPLER GROUP LLC          NEW YORK NY 10016         RUCHI.PRASAD@KEPLERGRP.COM           Email
                                                                                              ATTN: JOSHUA A. SUSSBERG,
                                                                                              EMILY E. GEIER, DEREK I.
                                                                                              HUNTER                    JOSHUA.SUSSBERG@KIRKLAND.COM
                                                                                              601 LEXINGTON AVENUE      EMILY.GEIER@KIRKLAND.COM
COUNSEL TO THE DEBTORS                                              KIRKLAND & ELLIS LLP      NEW YORK NY 10022         DEREK.HUNTER@KIRKLAND.COM            Email
                                                                                              ATTN: IAN R. WINTERS,
                                                                                              BRENDAN M. SCOTT,
                                                                                              STEPHANIE R. SWEENEY
                                                                                              200 WEST 41ST STREET      IWINTERS@KLESTADT.COM
                                                                    KLESTADT WINTERS JURELLER 17TH FLOOR                BSCOTT@KLESTADT.COM
COUNSEL TO DREAM ON ME INDUSTRIES, INC.                             SOUTHARD & STEVENS, LLP   NEW YORK NY 10036-7023    SSWEENEY@KLESTADT.COM                Email
                                                                                              ATTN: DANIEL N. ZINMAN,
                                                                                              ESQ.
                                                                                              360 LEXINGTON AVENUE
                                                                                              SUITE 1200
COUNSEL TO W.B.P. CENTRAL ASSOCIATES, LLC                           KRISS & FEUERSTEIN LLP    NEW YORK NY 10017         DZINMAN@KANDFLLP.COM                 Email
                                                                                              ATTN: JEFFREY KURTZMAN,
                                                                                              ESQ.
                                                                                              101 N. WASHINGTON
                                                                                              AVENUE, SUITE 4A
COUNSEL TO WATER TOWER SQUARE ASSOCIATES                            KURTZMAN STEADY, LLC      MARGATE NJ 08402          KURTZMAN@KURTZMANSTEADY.COM          Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 16 of 35
                                            Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02               Desc Main
                                                                       Document     Page 20 of 38
                                                                                    Exhibit A
                                                                                Master Service List
                                                                             Served as set forth below

                                   DESCRIPTION                            NAME                        ADDRESS                        EMAIL               METHOD OF SERVICE
                                                                                            ATTN: LISA M. PETERS
                                                                                            1650 FARNAM STREET
COUNSEL TO NORTHWOODS III (SAN ANTONIO), LLC                      KUTAK ROCK LLP            OMAHA NB 68102            LISA.PETERS@KUTAKROCK.COM        Email
                                                                                            ATTN: RICHARD L. ZUCKER &
                                                                                            SHEPPARD A. GURYAN
                                                                                            75 EISENHOWER PARKWAY
                                                                                            SUITE 120                 RZUCKER@LASSERHOCHMAN.COM
COUNSEL TO FOR TAFT ASSOCIATES                                    LASSER HOCHMAN, L.L.C.    ROSELAND NJ 07068         SGURYAN@LASSERHOCHMAN.COM        Email
                                                                                            ATTN: SHMUEL KLEIN, ESQ.
                                                                                            316 PROSPECT AVENUE
                                                                  LAW OFFICE OF SHMUEL      #3J
COUNSEL TO NO PLACE LIKE HOME CORP. (NPLHC)                       KLEIN PA                  HACKENSACK NJ 07601       SHMUEL.KLEIN@VERIZON.NET         Email
                                                                                            ATTN: ANDY WINCHELL
                                                                                            90 WASHINGTON VALLEY
ATTORNEY FOR DONG KOO KIM AND JONG OK KIM, TRUSTEES OF THE DONG LAW OFFICES OF ANDY         ROAD
KOO KIM AND JONG OK KIM FAMILY TRUST                              WINCHELL, P.C.            BEDMINSTER NJ 07921       ANDY@WINCHLAW.COM                Email
                                                                                            ATTN: KENNETH L. BAUM
                                                                                            201 W. PASSAIC STREET
                                                                  LAW OFFICES OF KENNETH L. SUITE 104
COUNSEL TO COLUMBUS PARK CROSSING, LLC AND FORUM LONE STAR, L.P BAUM LLC                    ROCHELLE PARK NJ 07662    KBAUM@KENBAUMDEBTSOLUTIONS.COM   Email
                                                                                            ATTN: LISA M. SOLOMON
                                                                                            ONE GRAND CENTRAL PLACE
COUNSEL FOR DC USA OPERATING CO., LLC (CAPTION IN COMPLIANCE WITH                           305 MADISON AVENUE, SUITE
D.N.J. LBR 9004-1(B)) & VF CENTER ASSOCIATES, L.P. (CAPTION IN    LAW OFFICES OF LISA M.    4700
COMPLIANCE WITH D.N.J. LBR 9004-1(B))                             SOLOMON                   NEW YORK NY 10165         LISA.SOLOMON@ATT.NET             Email
                                                                                            ATTN: HARLAN M. LAZARUS
                                                                                            240 MADISON AVE
COUNSEL TO 36 MONMOUTH PLAZA LLC AS SUCCESSOR IN INTEREST TO                                8TH FLOOR
HENDON/DDR/BP LLC & CAC ATLANTIC LLC (THE "NOTICE PARTIES")       LAZARUS & LAZARUS, P.C.   NEW YORK NY 10016         HLAZARUS@LAZARUSANDLAZARUS.COM   Email
                                                                                            ATTN: BOB BURBANK
                                                                                            1414 RADCLIFF STREET
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS                     LENOX CORPORATION         BRISTOL PA 19007                                           First Class Mail
COUNSEL TO NUECES COUNTY, CITY OF MCALLEN, SAN MARCOS CISD,                                 ATTN: DIANE W. SANDERS
CAMERON COUNTY, MCLENNAN COUNTY, HIDALGO COUNTY & VICTORIA        LINBARGER GOGGAN BLAIR & P.O. BOX 17428
COUNTY                                                            SAMPSON, LLP              AUSTIN TX 78760-7428      AUSTIN.BANKRUPTCY@LGBS.COM       Email
                                                                                            ATTN: DON STECKER
                                                                                            112 E. PECAN STREET
                                                                  LINBARGER GOGGAN BLAIR & SUITE 2200
COUNSEL TO BEXAR COUNTY & CITY OF EL PASO                         SAMPSON, LLP              SAN ANTONIO TX 78205      SANANTONIO.BANKRUPTCY@LGBS.COM   Email



      In re: Bed Bath Beyond Inc., et al.
      Case No. 23-13359 (VFP)                                                      Page 17 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                                Desc Main
                                                                        Document     Page 21 of 38
                                                                                            Exhibit A
                                                                                        Master Service List
                                                                                     Served as set forth below

                                    DESCRIPTION                                 NAME                   ADDRESS                                    EMAIL              METHOD OF SERVICE
                                                                                             ATTN: JOHN KENDRICK
                                                                                             TURNER
                                                                                             2777 N. STEMMONS
COUNSEL TO PARKER CAD, GRAYSON COUNTY, DALLAS COUNTY, SMITH                                  FREEWAY
COUNTY, TARRANT COUNTY, LEWISVILLE ISD, ROCKWALL CAD, CITY OF       LINBARGER GOGGAN BLAIR & SUITE 1000
FRISCO, GREGG COUNTY ("SECURED CREDITORS"), TOM GREEN CAD           SAMPSON, LLP             DALLAS TX 75207                       DALLAS.BANKRUPTCY@LGBS.COM      Email

COUNSEL TO CYPRESS-FAIRBANKS ISD, ANGELINA COUNTY, HARRIS COUNTY,                          ATTN: TARA L. GRUNDEMEIER
FORT BEND CO WCID #02, MONTGOMERY COUNTY, JEFFERSON COUNTY,       LINBARGER GOGGAN BLAIR & P.O. BOX 3064
AND FORT BEND COUNTY                                              SAMPSON, LLP             HOUSTON TX 77253-3064     HOUSTON_BANKRUPTCY@LGBS.COM                   Email
                                                                                           ATTN: ALLEN J. UNDERWOOD
                                                                                           II, ESQ.
                                                                                           570 BROAD STREET
                                                                  LITE DEPALMA GREENBERG & SUITE 1201
COUNSEL TO 12535 SE 82ND AVE LLC                                  AFANADOR, LLC            NEWARK NJ 07102           AUNDERWOOD@LITEDEPALMA.COM                    Email

                                                                                                     ATTN: ANDREW BRAUNSTEIN
                                                                                                     BROOKFIELD PLACE
                                                                                                     200 VESEY STREET, 20TH
                                                                                                     FLOOR
COUNSEL TO COMMISSION JUNCTION LLC                                  LOCKE LORD LLP                   NEW YORK NY 10281             ANDREW.BRAUNSTEIN@LOCKELORD.COM Email
                                                                                                     ATTN: HANNA J. REDD
                                                                                                     111 HUNTINGTON AVE
                                                                                                     9TH FLOOR
COUNSEL TO COMMISSION JUNCTION LLC                                  LOCKE LORD LLP                   BOSTON MA 02199               HANNA.REDD@LOCKELORD.COM        Email
                                                                                                     ATTN: JONATHAN W. YOUNG
                                                                                                     701 8TH STREET, N.W.
                                                                                                     SUITE 500
COUNSEL TO COMMISSION JUNCTION LLC                                  LOCKE LORD LLP                   WASHINGTON D.C. 20001         JONATHAN.YOUNG@LOCKELORD.COM    Email
                                                                                                     ATTN: CHRISTOPHER D.
                                                                                                     LOIZIDES, LEGAL ARTS
                                                                                                     BUILDING
                                                                                                     1225 KING STREET
                                                                                                     SUITE 800
COUNSEL TO NORTHWOODS III (SAN ANTONIO), LLC                        LOIZIDES, P.A.                   WILMINGTON DE 19801           LOIZIDES@LOIZIDES.COM           Email
                                                                                                     ATTN: KENNETH A. ROSEN,
                                                                                                     ESQ., MARY E. SEYMOUR,
                                                                                                     ESQ., PHILIP J. GROSS, ESQ.   KROSEN@LOWENSTEIN.COM
                                                                                                     ONE LOWENSTEIN DRIVE          MSEYMOUR@LOWENSTEIN.COM
COUNSEL TO MICHAELS STORES, INC. ("MICHAELS")                       LOWENSTEIN SANDLER LLP           ROSELAND NJ 07068             PGROSS@LOWENSTEIN.COM           Email


       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                             Page 18 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                         Desc Main
                                                                        Document     Page 22 of 38
                                                                                       Exhibit A
                                                                                   Master Service List
                                                                                Served as set forth below

                                    DESCRIPTION                              NAME                         ADDRESS                          EMAIL           METHOD OF SERVICE
                                                                                                 ATTN: MICHELLE LEESON,
                                                                                                 PARALEGAL
                                                                                                 COLLECTIONS SPECIALIST,
                                                                                                 CFCA
                                                                    MANATEE COUNTY TAX           1001 3RD AVE W, SUITE 240
COUNSEL TO KEN BURTON, JR., MANATEE COUNTY TAX COLLECTOR            COLLECTOR                    BRADENTON FL 34205-7863      LEGAL@TAXCOLLECTOR.COM     Email

                                                                                                 ATTN: JAMES W. MCCARTNEY
                                                                                                 2500 PLAZA 5
                                                                    MARSHALL CONWAY              HARBORSIDE FINANCIAL
                                                                    BRADLEY GOLLUB &             CENTER
COUNSEL TO CAPARRA CENTER ASSOCIATES LLC                            WEISSMAN, P.C.               JERSEY CITY NJ 07311     JMCCARTNEY@MCWPC.COM           Email

ATTORNEY FOR TKG BISCAYNE, LLC, TKG PAXTON TOWNE CENTER
DEVELOPMENT, LP, TKG-MANCHESTER HIGHLAND, TKG CORAL NORTH, LLC,
MANHATTAN MARKETPLACE SC LLC, THF HARRISONBURG CROSSING, LLC,
CARSON VALLEY CENTER, LLC, DREAMLAND SHOPPING CENTER, SLO
PROMENADE DE LLC, MCS-LANCASTER DE LP, TKG MONROE LOUISIANA 2
LLC, SHREVE CENTER DE LLC, TKG LOGAN TOWN CENTRE LP, TKG MOUNTAIN                                ATTN: DAVID P. PRIMACK,
VIEW PLAZA, LLC, TKG WOODMEN COMMONS, LLC, GKT SHOPPES AT                                        ESQ.
LEGACY PARK, GKT GALLATIN SHOPPING CENTER, THF/MRP TIGER TOWN,    MCELROY, DEUTSCH,              300 DELAWARE AVE.
LLC, GRAND MESA CENTER, LLC, THE SHOPPES AT WILTON, LLC, AND EPPS MULVANEY & CARPENTER,          SUITE 1014
BRIDGE CENTRE PROPERTY CO, LLC (COLLECTIVELY, THE “TKG ENTITIES”) LLP                            WILMINGTON DE 19801          DPRIMACK@MDMC-LAW.COM      Email
                                                                                                 ATTN: JEFFREY BERNSTEIN
                                                                    MCELROY, DEUTSCH,            570 BROAD STREET
                                                                    MULVANEY & CARPENTER,        SUITE 1401
COUNSEL TO HRTC 1 LLC                                               LLP                          NEWARK NJ 07102              JBERNSTEIN@MDMC-LAW.COM    Email
                                                                                                 ATTN: NICOLE LEONARD
                                                                    MCELROY, DEUTSCH,            225 LIBERTY STREET
                                                                    MULVANEY & CARPENTER,        36TH FLOOR
COUNSEL TO HRTC 1 LLC                                               LLP                          NEW YORK NY 10281            NLEONARD@MDMC-LAW.COM      Email
                                                                                                 ATTN: DOUGLAS M. FOLEY,
                                                                                                 ESQ., JACOB M. WEISS, ESQ.
                                                                                                 GATEWAY PLAZA
                                                                                                 800 EAST CANAL STREET        DFOLEY@MCGUIREWOODS.COM
COUNSEL TO BRITAX CHILD SAFETY, INC.                                MCGUIREWOODS LLP             RICHMOND VA 23219            JMWEISS@MCGUIREWOODS.COM   Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 19 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                          Desc Main
                                                                        Document     Page 23 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                         ADDRESS                          EMAIL               METHOD OF SERVICE
                                                                                                  ATTN: PHILIP A. GOLDSTEIN,
                                                                                                  ESQ.
                                                                                                  1251 AVENUE OF THE
                                                                                                  AMERICAS, 20TH FLOOR
COUNSEL TO BRITAX CHILD SAFETY, INC.                                MCGUIREWOODS LLP              NEW YORK NY 10020            PAGOLDSTEIN@MCGUIREWOODS.COM   Email

                                                                                                  ATTN: ANTHONY SODONO, III,
                                                                                                  ESQ., SARI B. PLACONA, ESQ.
                                                                                                  75 LIVINGSTON AVENUE, STE.
                                                                    MCMANIMON SCOTLAND &          201                         ASODONO@MSBNJ.COM
COUNSEL TO SALMAR PROPERTIES, LLC.                                  BAUMANN, LLC                  ROSELAND NJ 07068           SPLACONA@MSBNJ.COM              Email
                                                                                                  ATTN: STEVEN P. KARTZMAN
                                                                                                  101 GIBRALTAR DRIVE, SUITE
                                                                                                  2F
COUNSEL TO FARLEY REAL ESTATE ASSOCIATES, LLC                       MELLINGER KARTZMAN LLC        MORRIS PLAINS NJ 07950      SKARTZMAN@MSKLAW.NET            Email

                                                                                                  ATTN: NICOLE C. KENWORTHY
                                                                                                  6801 KENILWORTH AVENUE
                                                                    MEYERS, RODBELL &             SUITE 400
COUNSEL TO CHARLES COUNTY, MARYLAND                                 ROSENBAUM, P.A.               RIVERDALE MD 20737-1385                                     First Class Mail
                                                                                                  ATTN: JOSEPH H. BALDIGA
                                                                                                  1800 WEST PARK DRIVE
COUNSEL TO RUNNING HILL SP, LLC, THE LESSOR OF THE DEBTORS'         MIRICK, O'CONNELL,            SUITE 400
LOCATION IN SOUTH PORTLAND, MAINE (THE "LANDLORD")                  DEMALLIE & LOUGEE, LLP        WESTBOROUGH MA 01581      JBALDIGA@MIRICKOCONNELL.COM       Email
COUNSEL TO RUNNING HILL SP, LLC, THE LESSOR OF THE DEBTORS'
LOCATION IN SOUTH PORTLAND, MAINE (THE "LANDLORD") & ISM                                          ATTN: PAUL W. CAREY
HOLDINGS, INC., THE LESSOR OF THE DEBTORS' LOCATION IN AUBURN,      MIRICK, O'CONNELL,            100 FRONT STREET
MASSACHUSETTS (THE "LANDLORD")                                      DEMALLIE & LOUGEE, LLP        WORCESTER MA 01608        PCAREY@MIRICKOCONNELL.COM         Email
                                                                                                  ATTN: STAN D. SMITH
                                                                                                  425 WEST CAPITOL AVENUE
                                                                    MITCHELL, WILLIAMS, SELIG,    SUITE 1800
COUNSEL TO ACXIOM LLC ("ACXIOM")                                    GATES & WOODYARD, PLLC        LITTLE ROCK AR 72201-3525 SSMITH@MWLAW.COM                  Email
                                                                                                  ATTN: DAVID B. WHEELER,
                                                                                                  ESQ.
                                                                                                  78 WENTWORTH STREET
                                                                                                  (29401)
COUNSEL TO DOMINION ENERGY SOUTH CAROLINA, INC. & PSNC ENERGY,                                    POST OFFICE BOX 22828
INC. DBA DOMINION ENERGY NORTH CAROLINA                             MOORE & VAN ALLEN PLLC        CHARLESTON SC 29413-2828 DAVIDWHEELER@MVALAW.COM            Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                          Page 20 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                          Desc Main
                                                                        Document     Page 24 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                           ADDRESS                        EMAIL                METHOD OF SERVICE
                                                                                                   ATTN: MARSHALL O.
                                                                                                   DWORKIN, ESQ & LESLIE A.
                                                                                                   BERKOFF, ESQ
                                                                                                   1407 BROADWAY
                                                                    MORITT HOCK & HAMROFF          SUITE 3900                  MDWORKIN@MORITTHOCK.COM
COUNSEL TO STUDIO CITY EAST 93K LLC                                 LLP                            NEW YORK NY 10018           LBERKOFF@MORITTHOCK.COM         Email
                                                                                                   KAREN CORDRY
                                                                    NATIONAL ASSOCIATION OF        1850 M ST., NW 12TH FLOOR
NATIONAL ASSOCIATION OF ATTORNEYS GENERAL                           ATTORNEYS GENERAL              WASHINGTON DC 20036         KCORDRY@NAAG.ORG                Email
                                                                                                   ATTN: FRANCIS J. BRENNAM
                                                                                                   80 STATE STREET
                                                                    NOLAN HELLER KAUFFMAN          11TH FLOOR
COUNSEL TO KEYBANK NATIONAL ASSOCIATION                             LLP                            ALBANY NY 12207             FBRENNAN@NHKLLP.COM             Email
                                                                                                   ATTN: JOHN O’BOYLE
                                                                    NORGAARD, O’BOYLE &            184 GRAND AVENUE
COUNSEL TO CREDITOR, 101 & SCOTTSDALE, LLC C/O YAM PROPERTIES       HANNON                         ENGLEWOOD NJ 07631-3507                                     First Class Mail
                                                                                                   ATTN: MERRI M. O'BRIEN,
                                                                                                   ESQ.
                                                                                                   160 PARK STREET
COUNSEL TO CREDITOR F3 METALWORK, INC.                              O'BRIEN THORNTON LLC           MONCLAIR NJ 07042           OBRIEN@OBRIENTHORNTON.COM       Email
                                                                                                   ATTN: PAUL J.
                                                                                                   WINTERHALTER, ESQ.
                                                                                                   100 EAGLE ROCK AVENUE
COUNSEL TO SAUL HOLDINGS LIMITED PARTNERSHIP (FRENCH MARKET                                        SUITE 105
MALL SHOPPING CENTER)                                               OFFIT KURMAN, P.A.             EAST HANOVER NJ 07936       PWINTERHALTER@OFFITKURMAN.COM   Email
                                                                                                   ATTN: TAMMY JONES
                                                                                                   320 ROBERT S. KERR, ROOM
                                                                    OKLAHOMA COUNTY                307
COUNSEL TO OKLAHOMA COUNTY TREASURER                                TREASURER                      OKLAHOMA CITY OK 73102      TAMMY.JONES@OKLAHOMACOUNTY.ORG Email
                                                                                                   ATTN: LAWRENCE J. HILTON
                                                                                                   23 CORPORATE PLAZA
                                                                                                   SUITE 150-105
COUNSEL TO HRTC I, LLC                                              ONE LLP                        NEWPORT BEACH CA 92660      LHILTON@ONELLP.COM              Email
                                                                                                   ATTN: MARC WASSERMAN,
                                                                                                   DAVE ROSENBLAT
                                                                                                   100 KING STREET WEST
                                                                                                   1 FIRST CANADIAN PLACE
                                                                                                   SUITE 6200, P.O. BOX 50
                                                                                                   TORONTO ON M5X 1B8
DEBTORS’ CANADIAN COUNSEL                                           OSLER                          CANADA                      MWASSERMAN@OSLER.COM            Email


       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                           Page 21 of 35
                                             Case 23-13359-VFP     Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                         Desc Main
                                                                          Document     Page 25 of 38
                                                                                           Exhibit A
                                                                                      Master Service List
                                                                                   Served as set forth below

                                    DESCRIPTION                                NAME                            ADDRESS                       EMAIL          METHOD OF SERVICE

                                                                                                ATTN: ROBERT J. FEINSTEIN,
                                                                                                BRADFORD J. SANDLER, PAUL
                                                                                                J. LABOV, COLIN R. ROBINSON RFEINSTEIN@PSZJLAW.COM
                                                                                                780 THIRD AVENUE, 34TH      BSANDLER@PSZJLAW.COM
                                                                      PACHULSKI STANG ZIEHL &   FLOOR                       PLABOV@PSZJLAW.COM
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS                         JONES LLP                 NEW YORK NY 10017           CROBINSON@PSZJLAW.COM         Email
                                                                                                ATTN: JOSEPH C. BARSALONA
                                                                                                II
                                                                      PASHMAN STEIN WALDER & 21 MAIN STREET, SUITE 200
COUNSEL TO BRATYA SPRL                                                HAYDEN, P.C.              HACKENSACK NJ 07601         JBARSALONA@PASHMANSTEIN.COM   Email
                                                                                                ATTN: LAURA J. MONROE
                                                                      PERDUE, BRANDON, FIELDER, P.O. BOX 817
COUNSEL TO LUBBOCK CENTRAL APPRAISAL DISTRICT MIDLAND COUNTY          COLLINS & MOTT, L.L.P.    LUBBOCK TX 79408            LMBKR@PBFCM.COM               Email
COUNSEL TO HUMBLE INDEPENDENT SCHOOL DISTRICT, SPRING BRANCH                                    ATTN: OWEN M. SONIK
INDEPENDENT SCHOOL DISTRICT, CITY OF HOUSTON, CLEAR CREEK                                       1235 NORTH LOOP WEST
INDEPENDENT SCHOOL DISTRICT AND PASADENA INDEPENDENT SCHOOL           PERDUE, BRANDON, FIELDER, SUITE 600
DISTRICT                                                              COLLINS & MOTT, L.L.P.    HOUSTON TX 77008            OSONIK@PBFCM.COM              Email
                                                                                                ATTN: OMAR JAFRI, ESQ.
                                                                                                10 SOUTH LASALLE STREET,
                                                                                                SUITE 3505
COUNSEL TO BRATYA SPRL                                                POMERANTZ LLP             CHICAGO IL 60603            OJAFRI@POMLAW.COM             Email
                                                                                                ATTN: JOHN S. MAIRO, ESQ.
                                                                      PORZIO, BROMBERG &        100 SOUTHGATE PARKWAY
COUNSEL TO SAMA PLASTICS CORP. AND SAMA WOOD LLC                      NEWMAN, P.C.              MORRISTOWN NJ 07962         JSMAIRO@PBNLAW.COM            Email
                                                                                                ATTN: RICK A. STEINBERG,
                                                                                                ESQ.
                                                                                                50 TICE BOULEVARD, SUITE
                                                                      PRICE MEESE SHULMAN &     380
COUNSEL TO TOTE GROUP, LLC                                            D'ARMINIO, P.C.           WOODCLIFF LAKE NJ 07677     RSTEINBERG@PRICEMEESE.COM     Email

                                                                                                     ATTN: CHARLES A. DALE, ESQ.
                                                                                                     ONE INTERNATIONAL PLACE
COUNSEL TO SIXTH STREET SPECIALTY LENDING, INC. ("SIXTH STREET")      PROSKAUER ROSE LLP             BOSTON MA 02110-2600        CDALE@PROSKAUER.COM      Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                             Page 22 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                             Desc Main
                                                                        Document     Page 26 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                           ADDRESS                           EMAIL          METHOD OF SERVICE
                                                                                                   ATTN: DAVID M. HILLMAN,
                                                                                                   ESQ., MEGAN VOLIN, ESQ. &
                                                                                                   REUVEN C. KLEIN, ESQ.
                                                                                                   ELEVEN TIMES SQUARE           DHILLMAN@PROSKAUER.COM
                                                                                                   EIGHTH AVENUE & 41ST          DHILLMAN@PROSKAUER.COM
                                                                                                   STREET                        MVOLIN@PROSKAUER.COM
COUNSEL TO DIP AGENTS AND SIXTH STREET SPECIALTY LENDING, INC.,     PROSKAUER ROSE LLP             NEW YORK NY 10036-8299        RKLEIN@PROSKAUER.COM       Email
                                                                                                   ATTN: JAY L. LUBETKIN, ESQ.
                                                                                                   293 EISENHOWER PARKWAY
                                                                    RABINOWITZ, LUBETKIN &         SUITE 100
COUNSEL TO MAD RIVER DEVELOPMENT LLC                                TULLY, LLC                     LIVINGSTON NJ 07039           JLUBETKIN@RLTLAWFIRM.COM   Email
                                                                                                   ATTN: RICHARD W. WARD
                                                                    RICHARD W. WARD LAW            6304 TEAL CT.
COUNSEL TO KEURIG DR PEPPER                                         OFFICE                         PLANO TX 75024                RWWARD@AIRMAIL.NET         Email
                                                                                                   ATTN: STEVEN E. FOX
                                                                                                   TIMES SQUARE TOWER
                                                                                                   SEVEN TIMES SQUARE
COUNSEL TO HILCO MERCHANT RESOURCES, LLC & GORDON BROTHERS                                         TOWER, SUITE 2506
RETAIL PARTNERS, LLC                                                RIEMER & BRAUNSTEIN, LLP       NEW YORK NY 10036             SFOX@RIEMERLAW.COM         Email

                                                                                                   ATTN: TARA J. SCHELLHORN,
                                                                                                   ESQ.
                                                                                                   HEADQUARTERS PLAZA
                                                                                                   ONE SPEEDWELL AVENUE
COUNSEL TO DADELAND STATION ASSOCIATES, LTD.                        RIKER DANZIG LLP               MORRISTOWN NJ 07962-1981 TSCHELLHORN@RIKER.COM           Email


                                                                                                   ATTN: TARA J. SCHELLHORN,
                                                                                                   ESQ., DANIEL A. BLOOM, ESQ.
                                                                                                   HEADQUARTERS PLAZA
                                                                                                   ONE SPEEDWELL AVENUE        TTSCHELLHORN@RIKER.COM
COUNSEL TO TPP BRYANT, LLC ("BRYANT")                               RIKER DANZIG LLP               MORRISTOWN NJ 07962-1981 DBLOOM@RIKER.COM                Email

                                                                                                   ATTN: JAMES C. SUOZZO, ESQ.
                                                                                                   25 MAIN STREET
                                                                                                   COURT PLAZA NORTH, SUITE
COUNSEL TO 250 HUDSON STREET, LLC, COUNSEL TO CASE SNOW                                            501
MANAGEMENT, LLC                                                     RIVKIN RADLER LLP              HACKENSACK NJ 07601-7082 JAMES.SUOZZO@RIVKIN.COM         Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                           Page 23 of 35
                                            Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                 Desc Main
                                                                       Document     Page 27 of 38
                                                                                    Exhibit A
                                                                                Master Service List
                                                                             Served as set forth below

                                   DESCRIPTION                            NAME                       ADDRESS                        EMAIL             METHOD OF SERVICE
                                                                                           ATTN: PAUL RUBIN
                                                                                           11 BROADWAY
                                                                                           SUITE 715
COUNSEL TO REGENT SHOPPING CENTER INC. AND CASTLE RIDGE PLAZA LLC RUBIN LLC                NEW YORK NY 10004          PRUBIN@RUBINLAWLLC.COM        Email
                                                                                           ATTN: MICHAEL MANDELL
                                                                  RYDER INTEGRATED         11690 NW 105TH STREET
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS                     LOGISTICS, INC.          MIAMI FL 33178                                           First Class Mail
                                                                                           ATTN: MORRIS SCHLAF
                                                                                           31-19 NEWTOWN AVENUE
                                                                                           SEVENTH FLOOR
COUNSEL FOR CREDITOR ELENI ZERVOS                                 SACCO & FILLAS, LLP      ASTORIA NY 11102           MSCHLAF@SACCOFILLAS.COM       Email
                                                                                           ATTN: MARK MINUTI
                                                                                           1201 NORTH MARKET STREET,
                                                                                           SUITE 2300
                                                                                           P.O. BOX 1266
COUNSEL TO LOJA WTP, LLC                                          SAUL EWING LLP           WILMINGTON DE 19899        MARK.MINUTI@SAUL.COM          Email
                                                                                           ATTN: MONIQUE B.
                                                                                           DISABATINO, ESQ.
                                                                                           1201 NORTH MARKET STREET,
COUNSEL FOR COLLEGE PLAZA STATION LLC, TOWN & COUNTRY (CA)                                 SUITE 2300
STATION L.P. AND PHILLIPS EDISON & COMPANY                        SAUL EWING LLP           WILMINGTON DE 19899        MONIQUE.DISABATINO@SAUL.COM   Email
                                                                                           ATTN: MONIQUE B.
                                                                                           DISABATINO, ESQ.
COUNSEL FOR COLLEGE PLAZA STATION LLC, TOWN & COUNTRY (CA)                                 P.O. BOX 1266
STATION L.P. AND PHILLIPS EDISON & COMPANY                        SAUL EWING LLP           WILMINGTON DE 19899        MONIQUE.DISABATINO@SAUL.COM   Email
                                                                                           ATTN: TURNER N. FALK
                                                                                           CENTRE SQUARE WEST
                                                                                           1500 MARKET STREET, 38TH
                                                                                           FLOOR
COUNSEL TO LOJA WTP, LLC                                          SAUL EWING LLP           PHILADELPHIA PA 19102      TURNER.FALK@SAUL.COM          Email
                                                                                           ATTN: TURNER N. FALK, ESQ.
                                                                                           CENTRE SQUARE WEST
                                                                                           1500 MARKET STREET, 38TH
                                                                                           FLOOR
COUNSEL FOR COLLEGE PLAZA STATION LLC, TOWN & COUNTRY (CA)                                 PHILADELPHIA PA 19102-
STATION L.P. AND PHILLIPS EDISON & COMPANY                        SAUL EWING LLP           2186                       TURNER.FALK@SAUL.COM          Email
                                                                                           ATTN: DARWIN H. BINGHAM
                                                                                           15 WEST SOUTH TEMPLE
COUNSEL TO THE COMMONS AT SUGAR HOUSE, L.C., A CREDITOR, BOYER    SCALLEY READING BATES    SUITE 600
SPRING CREEK, L.C., AND WN ACQUISTION DELAWARE, LLC               HANSEN & RASMUSSEN, P.C. SALT LAKE CITY UT 84101    DBINGHAM@SCALLEYREADING.NET   Email


      In re: Bed Bath Beyond Inc., et al.
      Case No. 23-13359 (VFP)                                                      Page 24 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                    Desc Main
                                                                        Document     Page 28 of 38
                                                                                        Exhibit A
                                                                                    Master Service List
                                                                                 Served as set forth below

                                    DESCRIPTION                              NAME                            ADDRESS                  EMAIL                METHOD OF SERVICE

                                                                                              ATTN: DAVID EDELBERG, ESQ.
                                                                                              150 CLOVE ROAD
                                                                                              9TH FLOOR
COUNSEL TO DC USA OPERATING CO., LLC                                SCARINCI HOLLENBECK, LLC LITTLE FALLS NJ 07424        DEDELBERG@SH-LAW.COM           Email
                                                                                              ATTN: ALLEN J. BARKIN, ESQ.
                                                                                              1110 SPRINGFIELD RD
                                                                    SCHWARTZ BARKIN &         PO BOX 1339
COUNSEL TO LOGIXAL INC.                                             MITCHELL                  UNION NJ 07083-1339         ABARKIN@SBMESQ.COM             Email
                                                                                              ATTN: BANKRUPTCY DEPT
                                                                                              BROOKFIELD PLACE
                                                                    SECURITIES & EXCHANGE     200 VESEY STREET, STE 400   BANKRUPTCYNOTICESCHR@SEC.GOV
SECURITIES AND EXCHANGE COMMISSION - REGIONAL OFFICE                COMMISSION - NY OFFICE    NEW YORK NY 10281-1022      NYROBANKRUPTCY@SEC.GOV         Email
                                                                                              ATTN: BANKRUPTCY DEPT
                                                                    SECURITIES & EXCHANGE     ONE PENN CENTER
                                                                    COMMISSION - PHILADELPHIA 1617 JFK BLVD, STE 520
SECURITIES AND EXCHANGE COMMISSION - REGIONAL OFFICE                OFFICE                    PHILADELPHIA PA 19103       SECBANKRUPTCY@SEC.GOV          Email
                                                                                              ATTN: SECRETARY OF THE
                                                                                              TREASURY
                                                                    SECURITIES AND EXCHANGE 100 F. STREET NE
SECURITIES AND EXCHANGE COMMISSION - HEADQUARTERS                   COMMISSION                WASHINGTON DC 20549         SECBANKRUPTCY@SEC.GOV          Email
                                                                                              ATTN: ROBERT J. GAYDA,
                                                                                              ANDREW J. MATOTT
                                                                                              ONE BATTERY PARK PLAZA      GAYDA@SEWKIS.COM
COUNSEL TO KEPLER GROUP LLC                                         SEWARD & KISSEL LLP       NEW YORK NY 10004           MATOTT@SEWKIS.COM              Email
                                                                                              ATTN: JAMES S. YU
                                                                                              620 8TH AVENUE
COUNSEL TO 36 MONMOUTH PLAZA LLC AND CA-5-15 WEST 125TH LLC         SEYFARTH SHAW LLP         NEW YORK NY 10018           JYU@SEYFARTH.COM               Email
                                                                                              ATTN: PAUL CARBONE
                                                                                              89 A STREET
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS                       SHARK NINJA OPERATING LLC NEEDHAM MA 02494                                           First Class Mail
                                                                                              ATTN: BEVERLY R. PORWAY
                                                                                              SVP/DEPUTY GENERAL
                                                                                              COUNSEL
                                                                                              89 A STREET
COUNSEL TO SHARKNINJA OPERATING LLC                                 SHARKNINJA OPERATING LLC NEEDHAM MA 02494             BPORWAY@SHARKNINJA.COM         Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 25 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                          Desc Main
                                                                        Document     Page 29 of 38
                                                                                          Exhibit A
                                                                                      Master Service List
                                                                                   Served as set forth below

                                    DESCRIPTION                                NAME                      ADDRESS                           EMAIL            METHOD OF SERVICE
                                                                                               ATTN: RONALD M. TUCKER,
                                                                                               ESQ.
                                                                                               225 WEST WASHINGTON
                                                                  SIMON PROPERTY GROUP,        STREET
COUNSEL TO SIMON PROPERTY GROUP, INC.                             INC.                         INDIANAPOLIS IN 46204         RTUCKER@SIMON.COM            Email
                                                                                               ATTN: DANA S. PLON, ESQ.,
                                                                                               PETER A. LESSER, ESQ
                                                                                               123 SOUTH BROAD STREET
COUNSEL TO SIMSBURY COMMONS LLC; MIDDLETOWN SHOPPING CENTER I,                                 SUITE 2100                    DPLON@SIRLINLAW.COM
L.P. AND RIVERHEAD CENTRE OWNERS, LLC                             SIRLIN LESSER & BENSON, P.C. PHILADELPHIA PA 19109         PLESSER@SIRLINLAW.COM        Email
                                                                                               ATTN: HILARY MICHAEL
                                                                                               3300 ENTERPRISE PARKWAY
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS                     SITE CENTERS CORP.           BEACHWOOD OH 44122                                         First Class Mail
                                                                                               ATTN: PRESIDENT OR
                                                                                               GENERAL COUNSEL
                                                                                               2100 MCKINNEY AVENUE
AGENTS UNDER THE DEBTORS PREPETITION SECURED FACILITIES AND       SIXTH STREET SPECIALTY       SUITE 1500
COUNSEL THERETO                                                   LENDING, INC.                DALLAS TX 75201               IRTSLX@SIXTHSTREET.COM       Email
COUNSEL TO CNA ENTERPRISES, INC. (PROPERTY OWNER: SCOTTSDALE
FIESTA RETAIL
CENTER, LLC), NEWMARK MERRILL COMPANIES, INC. (PROPERTY OWNER:                                 ATTN: IAN S. LANDSBERG
UAP GRAND PLAZA; WPI GRAND PLAZA FKA GRAND LAS POSAS, LLC)                                     1880 CENTURY PARK EAST,
(PROPERTY OWNER: TRIANGLE TOWN CENTER NW, LLC), AND ROLLING HILLS                              STE. 300
PLAZA, LLC                                                        SKLAR KIRSH, LLP             LOS ANGELES CA 90067          ILANDSBERG@SKLARKIRSH.COM    Email
                                                                                               ATTN: MARK A. SALZBERG
                                                                  SQUIRE PATTON BOGGS (US) 2550 M STREET, NW
COUNSEL FOR BLUE YONDER, INC.                                     LLP                          WASHINGTON DC 20037           MARK.SALZBERG@SQUIREPB.COM   Email
                                                                                               ATTN: MARK C. ERRICO
                                                                                               382 SPRINGFIELD AVE.
                                                                  SQUIRE PATTON BOGGS (US) SUITE 300
COUNSEL FOR BLUE YONDER, INC.                                     LLP                          SUMMIT NJ 07901               MARK.ERRICO@SQUIREPB.COM     Email

                                                                                                    ATTN: JOSEPH H. LEMKIN,
                                                                                                    ESQ. & THOMAS ONDER, ESQ.
COUNSEL TO LEVIN MANAGEMENT CORPORATION, SPRINGFIELD PLAZA                                          P.O. BOX 5315             JLEMKIN@STARK-STARK.COM
LIMITED PARTNERSHIP, CONOPCO, INC. D/B/A UNILEVER UNITED STATES     STARK & STARK, P.C.             PRINCETON NJ 08543-5315   TONDER@STARK-STARK.COM      Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                            Page 26 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                          Desc Main
                                                                        Document     Page 30 of 38
                                                                                          Exhibit A
                                                                                    Master Service List
                                                                                 Served as set forth below

                                    DESCRIPTION                               NAME                      ADDRESS                             EMAIL              METHOD OF SERVICE
                                                                                              ATTENTION BANKRUPTCY
                                                                                              DEPT
                                                                                              P.O. BOX 300152
                                                                    STATE OF ALABAMA          MONTGOMERY AL 36130-
STATE OF ALABAMA ATTORNEY GENERAL                                   ATTORNEY GENERAL          0152                                                           First Class Mail
                                                                                              ATTENTION BANKRUPTCY
                                                                                              DEPT
                                                                    STATE OF ALASKA ATTORNEY P.O. BOX 110300
STATE OF ALASKA ATTORNEY GENERAL                                    GENERAL                   JUNEAU AK 99811-0300           ATTORNEY.GENERAL@ALASKA.GOV     Email
                                                                                              ATTENTION BANKRUPTCY
                                                                                              DEPT
                                                                    STATE OF ARIZONA ATTORNEY 2005 N CENTRAL AVE
STATE OF ARIZONA ATTORNEY GENERAL                                   GENERAL                   PHOENIX AZ 85004-2926          AGINFO@AZAG.GOV                 Email
                                                                                              ATTENTION BANKRUPTCY
                                                                                              DEPT
                                                                                              323 CENTER ST.
                                                                    STATE OF ARKANSAS         SUITE 200
STATE OF ARKANSAS ATTORNEY GENERAL                                  ATTORNEY GENERAL          LITTLE ROCK AR 72201-2610                                      First Class Mail

                                                                                                    ATTENTION BANKRUPTCY
                                                                                                    DEPT
                                                                    STATE OF CALIFORNIA             P.O. BOX 944255
STATE OF CALIFORNIA ATTORNEY GENERAL                                ATTORNEY GENERAL                SACRAMENTO CA 94244-2550 BANKRUPTCY@COAG.GOV             Email
                                                                                                    ATTENTION BANKRUPTCY
                                                                                                    DEPT
                                                                                                    RALPH L. CARR COLORADO
                                                                                                    JUDICIAL CENTER
                                                                                                    1300 BROADWAY, 10TH
                                                                    STATE OF COLORADO               FLOOR
STATE OF COLORADO ATTORNEY GENERAL                                  ATTORNEY GENERAL                DENVER CO 80203                                          First Class Mail
                                                                                                    ATTENTION BANKRUPTCY
                                                                                                    DEPT
                                                                    STATE OF CONNECTICUT            165 CAPITOL AVENUE        ATTORNEY.GENERAL@CT.GOV
STATE OF CONNECTICUT ATTORNEY GENERAL                               ATTORNEY GENERAL                HARTFORD CT 06106         DENISE.MONDELL@CT.GOV          Email
                                                                                                    ATTENTION BANKRUPTCY
                                                                                                    DEPT
                                                                                                    CARVEL STATE OFFICE BLDG.
                                                                    STATE OF DELAWARE               820 N. FRENCH ST.
STATE OF DELAWARE ATTORNEY GENERAL                                  ATTORNEY GENERAL                WILMINGTON DE 19801       ATTORNEY.GENERAL@STATE.DE.US   Email



       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                            Page 27 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                    Desc Main
                                                                        Document     Page 31 of 38
                                                                                        Exhibit A
                                                                                    Master Service List
                                                                                 Served as set forth below

                                    DESCRIPTION                              NAME                       ADDRESS                     EMAIL             METHOD OF SERVICE
                                                                                              ATTENTION BANKRUPTCY
                                                                                              DEPT
                                                                    STATE OF FLORIDA ATTORNEY THE CAPITOL, PL 01
STATE OF FLORIDA ATTORNEY GENERAL                                   GENERAL                   TALLAHASSEE FL 32399-1050                             First Class Mail
                                                                                              ATTENTION BANKRUPTCY
                                                                                              DEPT
                                                                    STATE OF GEORGIA          40 CAPITAL SQUARE, SW
STATE OF GEORGIA ATTORNEY GENERAL                                   ATTORNEY GENERAL          ATLANTA GA 30334-1300                                 First Class Mail
                                                                                              ATTENTION BANKRUPTCY
                                                                                              DEPT
                                                                    STATE OF HAWAII ATTORNEY 425 QUEEN ST.
STATE OF HAWAII ATTORNEY GENERAL                                    GENERAL                   HONOLULU HI 96813         HAWAIIAG@HAWAII.GOV         Email
                                                                                              ATTENTION BANKRUPTCY
                                                                                              DEPT
                                                                                              700 W. JEFFERSON STREET
                                                                    STATE OF IDAHO ATTORNEY P.O. BOX 83720
STATE OF IDAHO ATTORNEY GENERAL                                     GENERAL                   BOISE ID 83720-1000                                   First Class Mail

                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                    STATE OF ILLINOIS ATTORNEY 100 WEST RANDOLPH STREET
STATE OF ILLINOIS ATTORNEY GENERAL                                  GENERAL                    CHICAGO IL 60601         WEBMASTER@ATG.STATE.IL.US   Email
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                                               INDIANA GOVERNMENT
                                                                                               CENTER SOUTH
                                                                                               302 W. WASHINGTON ST.,
                                                                    STATE OF INDIANA ATTORNEY 5TH FLOOR
STATE OF INDIANA ATTORNEY GENERAL                                   GENERAL                    INDIANAPOLIS IN 46204    INFO@ATG.IN.GOV             Email
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                    STATE OF IOWA ATTORNEY     1305 E. WALNUT STREET
STATE OF IOWA ATTORNEY GENERAL                                      GENERAL                    DES MOINES IA 50319      WEBTEAM@AG.IOWA.GOV         Email
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                                               120 SW 10TH AVE., 2ND
                                                                    STATE OF KANSAS ATTORNEY FLOOR
STATE OF KANSAS ATTORNEY GENERAL                                    GENERAL                    TOPEKA KS 66612-1597                                 First Class Mail




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 28 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                          Desc Main
                                                                        Document     Page 32 of 38
                                                                                           Exhibit A
                                                                                      Master Service List
                                                                                   Served as set forth below

                                    DESCRIPTION                                NAME                           ADDRESS                       EMAIL              METHOD OF SERVICE
                                                                                                     ATTENTION BANKRUPTCY
                                                                                                     DEPT
                                                                                                     700 CAPITOL AVENUE, SUITE
                                                                    STATE OF KENTUCKY                118
STATE OF KENTUCKY ATTORNEY GENERAL                                  ATTORNEY GENERAL                 FRANKFORT KY 40601                                      First Class Mail

                                                                                                     ATTENTION BANKRUPTCY
                                                                                                     DEPT
                                                                    STATE OF LOUISIANA               P.O. BOX 94095
STATE OF LOUISIANA ATTORNEY GENERAL                                 ATTORNEY GENERAL                 BATON ROUGE LA 70804-4095 CONSUMERINFO@AG.STATE.LA.US   Email
                                                                                                     ATTENTION BANKRUPTCY
                                                                                                     DEPT
                                                                    STATE OF MAINE ATTORNEY          6 STATE HOUSE STATION
STATE OF MAINE ATTORNEY GENERAL                                     GENERAL                          AUGUSTA ME 04333-0000                                   First Class Mail
                                                                                                     ATTENTION BANKRUPTCY
                                                                                                     DEPT
                                                                    STATE OF MARYLAND                200 ST. PAUL PLACE
STATE OF MARYLAND ATTORNEY GENERAL                                  ATTORNEY GENERAL                 BALTIMORE MD 21202-2202 OAG@OAG.STATE.MD.US             Email
                                                                                                     ATTENTION BANKRUPTCY
                                                                                                     DEPT
                                                                    STATE OF MASSACHUSETTS           ONE ASHBURTON PLACE
STATE OF MASSACHUSETTS ATTORNEY GENERAL                             ATTORNEY GENERAL                 BOSTON MA 02108-1698         AGO@STATE.MA.US            Email
                                                                                                     ATTENTION BANKRUPTCY
                                                                                                     DEPT
                                                                                                     G. MENNEN WILLIAMS
                                                                                                     BUILDING, 7TH FLOOR
                                                                                                     525 W. OTTAWA ST., P.O. BOX
                                                                    STATE OF MICHIGAN                30212
STATE OF MICHIGAN ATTORNEY GENERAL                                  ATTORNEY GENERAL                 LANSING MI 48909-0212        MIAG@MICHIGAN.GOV          Email
                                                                                                     ATTENTION BANKRUPTCY
                                                                                                     DEPT
                                                                                                     1400 BREMER TOWER
                                                                    STATE OF MINNESOTA               445 MINNESOTA STREET
STATE OF MINNESOTA ATTORNEY GENERAL                                 ATTORNEY GENERAL                 ST. PAUL MN 55101-2131                                  First Class Mail
                                                                                                     ATTENTION BANKRUPTCY
                                                                                                     DEPT
                                                                                                     WALTER SILLERS BUILDING
                                                                                                     550 HIGH STREET, SUITE 1200,
                                                                    STATE OF MISSISSIPPI             P.O. BOX 220
STATE OF MISSISSIPPI ATTORNEY GENERAL                               ATTORNEY GENERAL                 JACKSON MS 39201                                        First Class Mail


       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                             Page 29 of 35
                                            Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                       Desc Main
                                                                       Document     Page 33 of 38
                                                                                       Exhibit A
                                                                                   Master Service List
                                                                                Served as set forth below

                                   DESCRIPTION                              NAME                          ADDRESS                       EMAIL              METHOD OF SERVICE
                                                                                                 ATTENTION BANKRUPTCY
                                                                                                 DEPT
                                                                                                 SUPREME COURT BUILDING
                                                                   STATE OF MISSOURI             207 W. HIGH ST.
STATE OF MISSOURI ATTORNEY GENERAL                                 ATTORNEY GENERAL              JEFFERSON CITY MO 65102   ATTORNEY.GENERAL@AGO.MO.GOV   Email

                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                                            215 N SANDERS, THIRD FLOOR
                                                                   STATE OF MONTANA         PO BOX 201401
STATE OF MONTANA ATTORNEY GENERAL                                  ATTORNEY GENERAL         HELENA MT 59620-1401       CONTACTDOJ@MT.GOV                 Email
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                                            2115 STATE CAPITOL
                                                                   STATE OF NEBRASKA        2ND FL, RM 2115
STATE OF NEBRASKA ATTORNEY GENERAL                                 ATTORNEY GENERAL         LINCOLN NE 68509-8920      AGO.INFO.HELP@NEBRASKA.GOV        Email
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF NEVADA ATTORNEY 100 NORTH CARSON STREET
STATE OF NEVADA ATTORNEY GENERAL                                   GENERAL                  CARSON CITY NV 89701       AGINFO@AG.NV.GOV                  Email
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF NEW HAMPSHIRE 33 CAPITOL ST.
STATE OF NEW HAMPSHIRE ATTORNEY GENERAL                            ATTORNEY GENERAL         CONCORD NH 03301-0000      ATTORNEYGENERAL@DOJ.NH.GOV        Email
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF NEW MEXICO      P.O. DRAWER 1508
STATE OF NEW MEXICO ATTORNEY GENERAL                               ATTORNEY GENERAL         SANTA FE NM 87504-1508                                       First Class Mail
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF NEW YORK        THE CAPITOL
STATE OF NEW YORK ATTORNEY GENERAL                                 ATTORNEY GENERAL         ALBANY NY 12224-0341                                         First Class Mail
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF NORTH CAROLINA 9001 MAIL SERVICE CENTER
STATE OF NORTH CAROLINA ATTORNEY GENERAL                           ATTORNEY GENERAL         RALEIGH NC 27699-9001                                        First Class Mail




      In re: Bed Bath Beyond Inc., et al.
      Case No. 23-13359 (VFP)                                                          Page 30 of 35
                                            Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                        Desc Main
                                                                       Document     Page 34 of 38
                                                                                       Exhibit A
                                                                                   Master Service List
                                                                                Served as set forth below

                                   DESCRIPTION                              NAME                         ADDRESS                         EMAIL               METHOD OF SERVICE
                                                                                                ATTENTION BANKRUPTCY
                                                                                                DEPT
                                                                                                STATE CAPITOL
                                                                                                600 E BOULEVARD AVE DEPT
                                                                   STATE OF NORTH DAKOTA        125
STATE OF NORTH DAKOTA ATTORNEY GENERAL                             ATTORNEY GENERAL             BISMARCK ND 58505-0040     NDAG@ND.GOV                     Email

                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF OHIO ATTORNEY   30 E. BROAD ST., 14TH FLOOR
STATE OF OHIO ATTORNEY GENERAL                                     GENERAL                  COLUMBUS OH 43215                                              First Class Mail
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF OKLAHOMA        313 NE 21ST STREET
STATE OF OKLAHOMA ATTORNEY GENERAL                                 ATTORNEY GENERAL         OKLAHOMA CITY OK 73105                                         First Class Mail
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF OREGON ATTORNEY 1162 COURT STREET NE
STATE OF OREGON ATTORNEY GENERAL                                   GENERAL                  SALEM OR 97301              CONSUMER.HOTLINE@DOJ.STATE.OR.US   Email
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                                            STRAWBERRY SQUARE
                                                                   STATE OF PENNSYLVANIA    16TH FLOOR
STATE OF PENNSYLVANIA ATTORNEY GENERAL                             ATTORNEY GENERAL         HARRISBURG PA 17120                                            First Class Mail
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF RHODE ISLAND    150 SOUTH MAIN STREET
STATE OF RHODE ISLAND ATTORNEY GENERAL                             ATTORNEY GENERAL         PROVIDENCE RI 02903-0000                                       First Class Mail
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                   STATE OF SOUTH CAROLINA P.O. BOX 11549
STATE OF SOUTH CAROLINA ATTORNEY GENERAL                           ATTORNEY GENERAL         COLUMBIA SC 29211-1549                                         First Class Mail
                                                                                            ATTENTION BANKRUPTCY
                                                                                            DEPT
                                                                                            1302 EAST HIGHWAY 14
                                                                   STATE OF SOUTH DAKOTA    SUITE 1
STATE OF SOUTH DAKOTA ATTORNEY GENERAL                             ATTORNEY GENERAL         PIERRE SD 57501-8501        CONSUMERHELP@STATE.SD.US           Email




      In re: Bed Bath Beyond Inc., et al.
      Case No. 23-13359 (VFP)                                                         Page 31 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                     Desc Main
                                                                        Document     Page 35 of 38
                                                                                        Exhibit A
                                                                                    Master Service List
                                                                                 Served as set forth below

                                    DESCRIPTION                              NAME                         ADDRESS                       EMAIL                   METHOD OF SERVICE
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                    STATE OF TENNESSEE         P.O. BOX 20207
STATE OF TENNESSEE ATTORNEY GENERAL                                 ATTORNEY GENERAL           NASHVILLE TN 37202-0207   GINA.HANTEL@AG.TN.GOV                First Class Mail and Email
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                                               CAPITOL STATION
                                                                    STATE OF TEXAS ATTORNEY PO BOX 12548
STATE OF TEXAS ATTORNEY GENERAL                                     GENERAL                    AUSTIN TX 78711-2548      PUBLIC.INFORMATION@OAG.STATE.TX.US   Email
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                                               PO BOX 142320
                                                                    STATE OF UTAH ATTORNEY     SALT LAKE CITY UT 84114-
STATE OF UTAH ATTORNEY GENERAL                                      GENERAL                    2320                      UAG@UTAH.GOV                         Email
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                    STATE OF VERMONT           109 STATE ST.
STATE OF VERMONT ATTORNEY GENERAL                                   ATTORNEY GENERAL           MONTPELIER VT 05609-1001 AGO.BANKRUPTCIES@VERMONT.GOV          Email
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                    STATE OF VIRGINIA ATTORNEY 900 EAST MAIN STREET
STATE OF VIRGINIA ATTORNEY GENERAL                                  GENERAL                    RICHMOND VA 23219                                              First Class Mail
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                                               1125 WASHINGTON ST. SE
                                                                    STATE OF WASHINGTON        P.O. BOX 40100
STATE OF WASHINGTON ATTORNEY GENERAL                                ATTORNEY GENERAL           OLYMPIA WA 98504-0100                                          First Class Mail
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                                               STATE CAPITOL BLDG 1 ROOM
                                                                    STATE OF WEST VIRGINIA     E 26
STATE OF WEST VIRGINIA ATTORNEY GENERAL                             ATTORNEY GENERAL           CHARLESTON WV 25305       CONSUMER@WVAGO.GOV                   Email
                                                                                               ATTENTION BANKRUPTCY
                                                                                               DEPT
                                                                                               WISCONSIN DEPARTMENT OF
                                                                                               JUSTICE
                                                                                               STATE CAPITOL, ROOM 114
                                                                    STATE OF WISCONSIN         EAST, P. O. BOX 7857
STATE OF WISCONSIN ATTORNEY GENERAL                                 ATTORNEY GENERAL           MADISON WI 53707-7857                                          First Class Mail



       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 32 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                   Desc Main
                                                                        Document     Page 36 of 38
                                                                                       Exhibit A
                                                                                   Master Service List
                                                                                Served as set forth below

                                    DESCRIPTION                              NAME                         ADDRESS                   EMAIL                    METHOD OF SERVICE
                                                                                                 ATTENTION BANKRUPTCY
                                                                                                 DEPT
                                                                                                 123 CAPITOL BUILDING
                                                                    STATE OF WYOMING             200 W. 24TH STREET
STATE OF WYOMING ATTORNEY GENERAL                                   ATTORNEY GENERAL             CHEYENNE WY 82002                                         First Class Mail

                                                                                              ATTN: DANIEL M. PEREIRA
                                                                                              2005 MARKET STREET, SUITE
                                                                    STRADLEY RONON STEVENS & 2600
COUNSEL TO COMMERCE TECHNOLOGIES LLC D/B/A COMMERCEHUB              YOUNG, LLP                PHILADELPHIA PA 19103-7098 DPEREIRA@STRADLEY.COM             Email
                                                                                              ATTN: ALEX CHANG
                                                                    THE BANK OF NEW YORK      240 GREENWICH STREET
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS                       MELLON                    NEW YORK NY 10686                                            First Class Mail
                                                                                              ATTN: SUNJAE LEE, ESQ.
                                                                                              163-10 NORTHERN
                                                                                              BOULEVARD
                                                                    THE LAW OFFICE OF JOHN C. SUITE 201
COUNSEL TO GFA ALABAMA INC.                                         KIM, P.C.                 FLUSHING NY 11358          SUNJAE@JCKLAW.COM                 Email
                                                                                              ATTN: LOUIS F. SOLIMINE,
                                                                                              ESQ.
                                                                                              312 WALNUT STREET – SUITE
                                                                                              2000
COUNSEL TO IMI HUNTSVILLE LLC                                       THOMPSON HINE LLP         CINCINNATI OH 45202-4029 LOUIS.SOLIMINE@THOMPSONHINE.COM     Email
                                                                                              ATTN: JASON A. STARKS
                                                                                              P.O. BOX 1748
COUNSEL TO TRAVIS COUNTY                                            TRAVIS COUNTY ATTORNEY    AUSTIN TX 78767            JASON.STARKS@TRAVISCOUNTYTX.GOV   Email
                                                                                              ATTN: ROBERT S. ROGLIERI
                                                                                              290 W. MT. PLEASANT
                                                                                              AVENUE
                                                                    TRENK ISABEL SIDDIQI &    SUITE 2370
COUNSEL TO WORLD MARKET, LLC                                        SHAHDANIAN P.C.           LIVINGSTON NJ 07039        RROGLIERI@TRENKISABEL.LAW         Email
                                                                                              ATTN: DOUGLAS D. HERMANN
                                                                                              & MARCY J. MCLAUGHLIN
                                                                                              SMITH
                                                                                              1313 N. MARKET STREET,
                                                                                              HERCULES PLAZA
COUNSEL TO HILCO MERCHANT RESOURCES, LLC & GORDON BROTHERS          TROUTMAN PEPPER           SUITE 5100                 DOUGLAS.HERRMANN@TROUTMAN.COM
RETAIL PARTNERS, LLC                                                HAMILTON SANDERS LLP      WILMINGTON DE 19801        MARCY.SMITH@TROUTMAN.COM          Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 33 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                          Desc Main
                                                                        Document     Page 37 of 38
                                                                                         Exhibit A
                                                                                     Master Service List
                                                                                  Served as set forth below

                                    DESCRIPTION                               NAME                          ADDRESS                          EMAIL               METHOD OF SERVICE
                                                                                                  ATTN: JESSICA D.
                                                                                                  MILHAILEVICH
COUNSEL TO HILCO MERCHANT RESOURCES, LLC & GORDON BROTHERS          TROUTMAN PEPPER               875 THIRD AVENUE
RETAIL PARTNERS, LLC                                                HAMILTON SANDERS LLP          NEW YORK NY 10022          JESSICA.MIKHAILEVICH@TROUTMAN.COM Email
                                                                                                  ATTN: HENRY J. JAFFE
                                                                                                  HERCULES PLAZA, SUITE 5100
COUNSEL TO OXO INTERNATIONAL LTD., HELEN OF TROY L.P., KAZ USA, INC. TROUTMAN PEPPER              1313 N. MARKET STREET
AND KAZ CANADA, INC.                                                 HAMILTON SANDERS LLP         WILMINGTON DE 19801        HENRY.JAFFE@TROUTMAN.COM          Email

                                                                                                ATTN: STEPHANIE L. JONAITIS
                                                                                                301 CARNEGIE CENTER
COUNSEL TO OXO INTERNATIONAL LTD., HELEN OF TROY L.P., KAZ USA, INC. TROUTMAN PEPPER            SUITE 400
AND KAZ CANADA, INC.                                                 HAMILTON SANDERS LLP       PRINCETON NJ 08543-5276     STEPHANIE.JONAITIS@TROUTMAN.COM Email
                                                                                                ATTN: PHILIP R. SELLINGER
                                                                     UNITED STATES ATTORNEY’S 970 BROAD STREET
                                                                     OFFICE FOR THE DISTRICT OF 7TH FLOOR                   USANJ.COMMUNITYOUTREACH@USDOJ.G
UNITED STATES ATTORNEY’S OFFICE FOR THE DISTRICT OF NEW JERSEY       NEW JERSEY                 NEWARK NJ 07102             OV                              Email

                                                                                             ATTENTION BANKRUPTCY
                                                                                             DEPT
                                                                                             US DEPT OF JUSTICE
                                                                    UNITED STATES OF AMERICA 950 PENNSYLVANIA AVE NW
UNITED STATES OF AMERICA ATTORNEY GENERAL                           ATTORNEY GENERAL         WASHINGTON DC 20530-0001                                           First Class Mail

                                                                                                  ATTN: FRAN B. STEELE, ESQ. &
                                                                                                  ALEXANDRIA NIKOLINOS, ESQ.
                                                                                                  ONE NEWARK CENTER
                                                                                                  1085 RAYMOND BOULEVARD, USTPREGION03.NE.ECF@USDOJ.GOV
                                                                    USDOJ, OFFICE OF THE          SUITE 2100                   FRAN.B.STEELE@USDOJ.GOV
U.S. TRUSTEE FOR THE DISTRICT OF NEW JERSEY                         UNITED STATES TRUSTEE         NEWARK NJ 07102              ALEXANDRIA.NIKOLINOS@USDOJ.GOV   First Class Mail and Email
                                                                                                  ATTN: JEFFREY A. DTIO
                                                                                                  301 JUNIPERO SERRA BLVD
                                                                    VALINOTI, SPECTER & DTIO,     SUITE 200
COUNSEL TO COMMONS AT ISSAQUAH, INC.                                LLP                           SAN FRANCISCO CA 94127       JDITO@VALINOTI-DITO.COM          Email

                                                                                                  ATTN: COURTNEY M. BROWN
                                                                                                  1633 BROADWAY, 31ST
                                                                                                  FLOOR
COUNSEL TO CMR LIMITED PARTNERSHIP                                  VEDDER PRICE P.C.             NEW YORK NY 10019       CMBROWN@VEDDERPRICE.COM               Email



       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                          Page 34 of 35
                                             Case 23-13359-VFP   Doc 2272 Filed 09/21/23 Entered 09/21/23 15:20:02                     Desc Main
                                                                        Document     Page 38 of 38
                                                                                        Exhibit A
                                                                                    Master Service List
                                                                                 Served as set forth below

                                    DESCRIPTION                              NAME                    ADDRESS                           EMAIL             METHOD OF SERVICE
                                                                                           ATTN: RILEY C. WALTER
                                                                                           265 E. RIVER PARK CIRCLE,
                                                                                           SUITE 310
COUNSEL TO HAWTHORNE INVESTORS 1 LLC                                WANGER JONES HELSLEY   FRESNO CA 93720               RWALTER@WJHATTORNEYS.COM      Email
                                                                                           ATTENTION BANKRUPTCY
                                                                                           DEPT
                                                                    WASHINGTON DC ATTORNEY 441 4TH STREET, NW
WASHINGTON DC ATTORNEY GENERAL                                      GENERAL                WASHINGTON DC 20001           OAG@DC.GOV                    Email
                                                                                           ATTN: FAYE C. RASCH
                                                                                           600 STEWART STREET
                                                                                           SUITE 1300
COUNSEL TO STRATFORD HALL, INC.                                     WENOKUR RIORDAN PLLC   SEATTLE WA 98101              FAYE@WRLAWGROUP.COM           Email
                                                                                           ATTN: DEVIN J. RIVERO, ESQ.
                                                                                           SOUTHEAST FINANCIAL
                                                                                           CENTER
                                                                                           200 SOUTH BICAYNE BLVD.,
                                                                                           SUITE 4900
COUNSEL TO MICHAELS STORES, INC. ("MICHAELS")                       WHITE & CASE LLP       MIAMI FL 33131-2352           DEVIN.RIVERO@WHITECASE.COM    Email
                                                                                           ATTN: GREGORY F. PESCE,
                                                                                           ESQ., LAURA E. BACCASH,
                                                                                           ESQ.
                                                                                           111 SOUTH WACKER DRIVE
                                                                                           SUITE 5100                    GREGORY.PESCE@WHITECASE.COM
COUNSEL TO MICHAELS STORES, INC. ("MICHAELS")                       WHITE & CASE LLP       CHICAGO IL 60606-4302         LAURA.BACCASH@WHITECASE.COM   Email
                                                                                           ATTN: SAMUEL P. HERSHEY,
                                                                                           ESQ.
                                                                                           1221 AVENUE OF THE
                                                                                           AMERICAS
COUNSEL TO MICHAELS STORES, INC. ("MICHAELS")                       WHITE & CASE LLP       NEW YORK NY 10020             SAM.HERSHEY@WHITECASE.COM     Email
                                                                                           ATTN: DAVID H. STEIN
                                                                                           90 WOODBRIDGE CENTER
                                                                                           DRIVE
                                                                    WILENTZ, GOLDMAN &     SUITE 900, BOX 10
COUNSEL TO ENID TWO, LLC                                            SPITZER                WOODBRIDGE NJ 07095           DSTEIN@WILENTZ.COM            Email




       In re: Bed Bath Beyond Inc., et al.
       Case No. 23-13359 (VFP)                                                         Page 35 of 35
